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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                       Chapter 11

         UBIOME, INC.,1                                               Case No. 19-11938 (LSS)

                                              Debtor.

                  CERTIFICATION OF DEBTOR’S CONSOLIDATED LIST OF CREDITORS

                   The above-captioned debtor and debtor in possession (the “Debtor”) hereby certifies

         under penalty of perjury that the Consolidated Creditor Matrix submitted herewith, pursuant to

         Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware (the “Local Rules”), formatted in portable

         document format, containing the list of creditors of the Debtor, is complete and, to the best of the

         Debtor’s knowledge, correct and consistent with the Debtor’s books and records.

                   The information contained in the Consolidated Creditor Matrix is based on a review of

         the Debtor’s books and records. However, the Debtor has not completed a comprehensive legal

         and/or factual investigation with regard to possible defenses to any claims of the potential

         claimants included in the Consolidated Creditor Matrix. In addition, certain of the entities

         included in the Consolidated Creditor Matrix may not hold outstanding claims as of the date

         hereof, and therefore may not be creditors of the Debtor for purposes of this chapter 11 case.

         Therefore, this listing does not and should not be deemed to constitute either (i) a waiver of any

         defenses to any claims that may be asserted against the Debtor, or (ii) an acknowledgement of

         the validity or amount of any claims that may be asserted against the Debtor.




         1
             The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
             headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
01:25016796.1
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                I declare under penalty of perjury that the foregoing is true and correct.


         Dated: September 4, 2019                           uBiome, Inc.

                                                            /s/ Curtis G. Solsvig III
                                                            Curtis G. Solsvig III
                                                            Acting Chief Executive Officer




01:25016796.1
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1 800 GOT JUNK                           112 CAPITAL I LP                             1199 NATIONAL BENEFIT FUND
655 DU BOIS ST                           301 MISSION ST                               PO BOX 1007
STE F                                    SAN FRANCISCO CA 94105                       NEW YORK NY 10108-1007
SAN RAFAEL CA 94901




1AB INC                                  1LIFE HEALTHCARE INC ONE MEDICAL GROUP       2A ENTERPRISE
PO BOX 1059                              130 SUTTER ST                                CSLB 942778
LUTZ FL 33548                            SAN FRANCISCO CA 94104                       SAN JOSE CA 95122




3 BRIDGE NETWORKS LLC                    4IMPRINT                                     500 STARTUPS III LP
601 MONTGOMERY ST                        101 COMMERCE ST                              814 MISSION ST
STE 1825                                 OSHKOSH WI 54901                             6TH FLOOR
SAN FRANCISCO CA 94111                                                                SAN FRANCISCO CA 94103




8VC ENTREPRENEURS FUND I LP              A4 MEDIA                                     ABCLONAL SCIENCE INC
501 SECOND ST                            630 W GERMANTOWN PIKE                        86 CUMMINGS PK
STE 300                                  STE 250                                      WOBURN MA 01801
SAN FRANCISCO CA 94107                   PLYMOUTH MEETING PA 19462




ACA TRACK LLC                            ACCENT                                       ACCENT MSC 410837
PO BOX 1285                              PO BOX 952366                                PO BOX 415000
WALLED LAKE MI 48390                     SAINT.LOUIS MO 63195-2366                    NASHVILLE TN 37241-0837




ACCENT OMAHA                             ACCOMPLISHMENT COACHING LP                   ACCUTEK LABORATORIES
PO BOX 542007                            2831 CAMINO DEL RIOS SOUTH                   10360 SORRENTO VLY RD
OMAHA NE 68154-8007                      STE 216                                      STE E
                                         SAN DIEGO CA 92108                           SAN DIEGO CA 92121




ADDAE, KWASI                             ADOBE SYSTEMS                                ADROLL
360 LANGSTON                             345 PARK AVE                                 2300 HARRISON ST
STE 301 TO 305                           SAN JOSE CA 95110-2704                       2ND FLOOR
SAN FRANCISCO CA 94103                                                                SAN FRANCISCO CA 94110




ADVINCULA, DIANA                         AETNA                                        AETNA LIFE INSURANCE CO
22 GARCES DR                             PO BOX 14079                                 PO BOX 14079
SAN FRANCISCO CA 94132                   LEXINGTON KY 40512-4079                      LEXINGTON KY 40512-4079




AETNA RESOLUTION TEAM                    AETNA STUDENT HEALTH                         AGILENT TECHNOLOGIES INC
PO BOX NO 14020                          PO BOX 415808                                PO BOX 742108
LEXINGTON KY 40512                       BOSTON MA 02241-5808                         LOS ANGELES CA 90074-2108




AGNELLO, MELISSA                         ALABAMA ATTORNEY GENERAL                     ALABAMA DEPT OF
360 LANGSTON                             STEVE MARSHALL                               ENVIRONMENTAL MANAGEMENT
STE 301 TO 305                           501 WASHINGTON AVE                           1400 COLISEUM BLVD
SAN FRANCISCO CA 94103                   MONTGOMERY AL 36130                          MONTGOMERY AL 36130-1463




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ALABAMA DEPT OF                          ALABAMA DEPT OF LABOR                      ALABAMA DEPT OF REVENUE
CONSERVATION AND NATURAL RESOURSES       COMMISSIONER                               50 NORTH RIPLEY ST
N GUNTER GUY JR COMMISSIONER OF          649 MONROE ST                              MONTGOMERY AL 36132
CONSERVATION                             MONTGOMERY AL 36131
64 N UNION ST
MONTGOMERY AL 36130


ALABAMA STATE TREASURY                   ALASKA ATTORNEY GENERAL                    ALASKA DEPT OF ENVIRONMENTAL CONSERVATION
UNCLAIMED PROPERTY DIVISION              KEVIN G CLARKSON                           DEPT OF NATURAL RESOURCES
RSA UNION BUILDING                       1031 W 4TH AVE                             550 W 7TH AVE
100 NORTH UNION ST                       STE 200                                    STE 1260
STE 636                                  ANCHORAGE AK 99501-1994                    ANCHORAGE AK 99501-3557
MONTGOMERY AL 36104


ALASKA DEPT OF LABOR AND                 ALASKA DEPT OF REVENUE                     ALASKA JUNEAU COMMISSIONER'S OFFICE
WORKFORCE DEVELOPMENT                    UNCLAIMED PROPERTY                         PO BOX 110400
COMMISSIONER                             TREASURY DIVISION                          JUNEAU AK 99811-0400
550 W 7TH AVE STE 1930                   PO BOX 110405
ANCHORAGE AK 99501-3557                  JUNEAU AK 99811-0405




ALFA DEVELOPMENT MANAGEMENT LLC          ALL CLEAN HAZARDOUS WASTE REMOVAL INC      ALLEN, ANN
15 WEST 18TH ST                          21 GREAT OAKS BLVD                         360 LANGSTON
NEW YORK NY 10011                        SAN JOSE CA 95119-1359                     STE 301 TO 305
                                                                                    SAN FRANCISCO CA 94103




ALLEN, BENJAMIN                          ALLTRAN HEALTH SVC INC                     ALONSO, RODRIGO
360 LANGSTON                             200 14TH AVE EAST                          2745 CLUB DR
STE 301 TO 305                           SARTELL MN 56377                           GILROY CA 95020
SAN FRANCISCO CA 94103




ALPAQUA ENGINERRING LLC                  ALUMNI STAFFING LLC                        AME CLOUD VENTURES LLC
100 CUMMINGS CTR                         678 US HWY 202/206                         720 UNIVERSITY AVE
#424A                                    STE 5                                      STE 200
BEVERLY MA 01915                         BRIDGEWATER NJ 08807                       LOS GATOS CA 95032




AMERASEKERA, JASMINE                     AMERICAN ASSOC FOR LABORATORY              AMERICAN SAMOA ATTORNEY GENERAL
1739 BROADWAY ST APT A                   ACCREDITATION                              TALAUEGA ELEASALO ALE
SAN FRANCISCO CA 94109                   5202 PRESIDENTS CT                         AMERICAN SAMOA GOVT EXEC OFC BLDG
                                         STE 220                                    UTULEI TERRITORY OF AMERICAN SAMOA
                                         FREDERICK MD 21703-8515                    PAGO PAGO AS 96799




ANAND AND AND VENKY LLC                  ANDREESSEN HOROWITZ FUND IV LP             ANGELLISTUBIOFUND
3150 ALMADEN EXPY                        FOR ITSELF AND AS NOMINEE                  A SERIES OF ANGELLIST FUNDS LLC
STE 233                                  2865 SAND HILL RD                          PO BOX 171305
SAN JOSE CA 95118                        STE 101                                    SALT LAKE CITY UT 94117
                                         MENLO PARK CA 94025




ANSLEY, DAVID                            ANTHEM BLUE CROSS ATLANTA                  ANTHEM BLUE CROSS BLUE SHIELD IL
13205 MADISON AVE NE                     PO BOX 392103                              PO BOX 5281
BAINBRIDGE WA 98110                      ATLANTA GA 15251-9103                      CAROL STREAM IL 60197-5281




ANTHEM BLUE CROSS CA OVERPAYMENT         AOMB                                       AOMB
RECOVERY                                 RENE RAGGERS                               RENE RAGGERS
PO BOX 92420                             PO BOX 645                                 PO BOX 645
CLEVELAND OH 44193                       5600 AP EINDHOVEN                          5600 AP EINDHOVEN
                                         EINDHOVEN                                  NETHERLANDS
                                         NETHERLANDS




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AON RISK INSURANCE SVC WEST INC               APARICIO LAW FIRM                           APPLE INC
SAN FRANCISCO CA OFFICE                       201 SPEAR ST                                1950 N STEMMONS FWY STE 5010
425 MARKET ST                                 STE 1100                                    STE 5010
SAN FRANCISCO CA 94105                        SAN FRANCISCO CA 94105                      DALLAS TX 75207




APPLICABLE DATA                               APT MARKETING NEW YORK                      APTE, ZACHARY
2034 READ CT                                  350 S 200 E                                 1442A 444 WALNUT ST
WOODLAND CA 95776                             STE 104                                     BERKELEY CA 94709
                                              SALT LAKE CITY UT 84111




AQUISE, SHEYLA                                ARCUS TECHNOLOGY                            ARIZONA ATTORNEY GENERAL
360 LANGSTON                                  3159 INDEPENDENCE DR                        MARK BRNOVICH
STE 301 TO 305                                LIVERMORE CA 94551                          1275 WEST WASHINGTON ST
SAN FRANCISCO CA 94103                                                                    PHOENIX AZ 85007




ARIZONA DEPT OF ENVIRONMENTAL QUALITY         ARIZONA DEPT OF REVENUE                     ARIZONA DEPT OF REVENUE
1110 W WASHINGTON ST                          1600 W MONROE ST                            UNCLAIMED PROPERTY UNIT
PHOENIX AZ 85007                              PHOENIX AZ 85007                            PO BOX 29026
                                                                                          PHOENIX AZ 85038-9026




ARIZONA GAME AND FISH DEPT                    ARIZONA INDUSTRIAL COMMISSION PHOENIX       ARIZONA INDUSTRIAL COMMISSION TUCSON
5000 W CAREFREE HIGHWAY                       CHAIRMAN                                    CHAIRMAN
PHOENIX AZ 85086-5000                         800 WEST WASHINGTON ST                      2675 E BROADWAY BLVD
                                              PHOENIX AZ 85007                            TUCSON AZ 85716




ARKANSAS ATTORNEY GENERAL                     ARKANSAS AUDITOR OF STATE                   ARKANSAS DEPT OF
LESLIE RUTLEDGE                               UNCLAIMED PROPERTY DIVISION                 ENVIRONMENTAL QUALITY
323 CENTER ST                                 1401 WEST CAPITAL AVE                       5301 NORTHSHORE DR
STE 200                                       STE 325                                     NORTH LITTLE ROCK AR 72118-5317
LITTLE ROCK AR 72201-2610                     LITTLE ROCK AR 72201




ARKANSAS DEPT OF FINANCE AND ADMINISTRATION   ARKANSAS DEPT OF LABOR                      ARMSTRONG, TYM
700 W CAPITOL                                 DIRECTOR                                    41319 MALCOLMSON ST
LITTLE ROCK AR 72201                          10421 WEST MARKHAM                          FREMONT CA 94538
                                              LITTLE ROCK AR 77205




ARNOLD AND PORTER KAYE SCHOLER LLP            ARTEL INC                                   ASENTRAL INSTITUTIONAL REVIEW BOARD
PO BOX 759451                                 25 BRADLEY DR                               10 MULLIKEN WAY
BALTIMORE MD 21275                            WESTBROOK ME 04092                          NEWBURYPORT MA 01950




ASK LOCKSMITH INC                             ASM STRATEGIC ALLIANCE                      ASSOCIATION FOR MOLECULAR PATHOLOGY
247 W 38TH ST                                 EXHIBITS AT 1752 N ST NW                    6120 EXECUTIVE BLVD
NEW YORK NY 10018                             WASHINGTON DC 20036                         STE 700
                                                                                          ROCKVILLE MD 20852




ATCC                                          ATLASSIAN PTY LTD                           ATTORNEY GENERAL'S OFFICE
10801 UNIVERSITY BVLD                         341 GEORGE ST                               CONSUMER SVC DIVISION
MANASSAS VA 20110-2209                        LEVEL 6                                     1400 BREMER TOWER
                                              SYDNEY, NSW                                 445 MINNESOTA ST
                                              AUSTRALIA                                   ST. PAUL MN 55101




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ATTORNEY GENERAL'S OFFICE                 ATTORNEY GENERAL'S OFFICE                  ATTORNEY GENERAL'S OFFICE
CONSUMER PROTECTION DIVISION              CONSUMER PROTECTION AND ANTITRUST BUREAU   CONSUMER PROTECTION SECTION
PO BOX 22947                              33 CAPITOL ST                              30 EAST BROAD ST
JACKSON MS 39225-2947                     CONCORD NH 03301                           17TH FL
                                                                                     COLUMBUS OH 43215-3428




AUWE35FUND A SERIES OF ANGELLISTTFFUNDS   AWEH, BIE                                  BALANCEWITHB LLC
LLC                                       2061 UNION ST                              15 SLEEPER ST APT 204
PO BOX 171305                             APT 2R                                     APT 204
SALT LAKE CITY UT 84117                   BROOKLYN NY 11212                          BOSTON MA 02110




BALLINGER, BRANDON                        BAMBOO HR LLC                              BANC OF AMERICA LEASING AND CAPITAL LLC
1043 VALENCIA ST                          335 S 560 W                                2600 W BIG BEAVER RD
APT 2                                     LINDON UT 84042                            TROY MI 48084
SAN FRANCISCO CA 94110




BANNERMAN.COM                             BAR CODE GRAPHICS INC                      BARKER, SHERYLYNN
25 TAYLOR ST                              65 E WACKER PL STE                         899 ERICKSON LN
#649                                      1800                                       FOSTER CITY CA 94404
SAN FRANCISCO CA 94107                    CHICAGO IL 60601-7247




BAUZON, HOLLY                             BAWAZER-PEDRO, ALLISON                     BAYERN, DOROTHY
360 LANGSTON                              1925 13TH AVE                              224 CONGO ST
STE 301 TO 305                            APT 101                                    SAN FRANCISCO CA 94131
SAN FRANCISCO CA 94103                    OAKLAND CA 94606




BAYESIAN MODELING AGENCY LLC              BCBS CT CENTRAL REGION CCOA LOCKBOX        BCBS MINNESOTA OVERPAYMENT RECOVERY
548 MARKET ST                             PO BOX 73651                               12800 GERMANE AVE
#16827                                    CELVELAND OH 44193-1177                    APT 104
SAN FRANCISCO CA 94104                                                               SAINT PAUL MN 55124




BCBS MT                                   BCBS NEW JERSEY                            BCBS NJ
PO BOX 5089                               PO BOX 11595                               PO BOX 1219
HELENA MT 59604-9954                      NEWARK NJ 07193-1595                       NEWARK NJ 07101-1219




BCBS OF MI                                BCBS OF NJ                                 BCBS TX HEALTHCARE SVC CORP REFUNDS DEPT
FERREN GIBSON                             PO BOX 11595                               PO BOX 731431
PO BOX 366                                NEWARK NJ 07193-1595                       DALLAS TX 75373-1431
DETROIT MI 48231-0366




BCBSNE REFUND DEPT                        BCRE 90 WEST STREET LLC                    BEATTY, BRIAN
PO BOX 3248                               90 WEST ST                                 33 PARK VIEW AVE
OMAHA NE 68180                            NEW YORK NY 10006-1005                     APT 2110
                                                                                     JERSEY CITY NJ 07302




BECKER, ALISON                            BECKMAN COULTER INC                        BEHBAHANI, SIAVOSH REZVAN
285 2ND AVE                               DEPT CH 10164                              425 GRANT AVE
SAN FRANCISCO CA 94118                    PALATINE IL 60055-0164                     APT 33
                                                                                     PALO ALTO CA 94306




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BELLE, ASHLEY VAN                          BETANCOURT, LIN                             BHOOTADA, YOGESH
624 HILGARD AVE                            90 POND RD                                  610 BUCKWHEAT CT
LOS ANGELES CA 90024                       SOUTH BERWICK ME 03908                      APT-1312
                                                                                       HAYWARD CA 94544




BINTI, MARTIKA                             BIO RAD LABORATORIES                        BIOCLONE INC
120 ANKENY ST                              1000 ALFRED NOBEL DR                        6393 NANCY RIDGE DR STE A
SAN FRANCISCO CA 94134                     HERCULES CA 94547                           SAN DIEGO CA 92121




BIOMED CENTRAL LIMITED THE CAMPUS          BIONEER                                     BIOPOLICY INNOVATIONS LLC
4 CRINAN ST                                155 FILBERT ST                              4340 PACIFIC HIGHWAY
LONDON N1 9XW                              UNIT 216                                    BELLINGHAM WA 98226
UNITED KINGDOM                             OAKLAND CA 94607




BIOQUIMICA CL SA                           BIOQUIMICA, CL SA                           BIORON DIAGNOSTICS GMBH
MATIAS GUTIERREZ                           MATIAS GUTIERREZ                            RHEINHORSTSTR 18
AV PRESIDENTE JOSE BATLLE Y ORDONEZ 3745   AVENIDA PRESIDENTE BATTLE Y ORDOLIEZ 3756   LUDWIGSHAFEN 67071
NUNOA                                      SANTIAGO                                    GERMANY
SANTIAGO                                   CHILE
CHILE


BIOVID CORP                                BIRD, SARA                                  BLONDE GONE CLEAN
10 CANAL ST                                473 BENVENUE AVE                            328 10TH AVE SOUTH
BRISTOL PA 19007                           LOS ALTOS CA 94024                          KIRKLAND WA 98033




BLOOMER INC                                BLUE CROSS BLUE SHIELD TX REFUND DEPT       BLUE CROSS BLUE SHIELD ILLINOIS
3249 17TH ST APT 1                         PO BOX 731431                               25718 NETWORK PL
SAN FRANCISCO CA 94110                     DALLAS TX 75373-1431                        CHICAGO IL 60673-1257




BLUE CROSS BLUE SHIELD MICHIGAN            BLUE CROSS BLUE SHIELD OF NORTH CAROLINA    BLUE CROSS BLUE SHIELD OF OKLAHOMA
MICHIGAN RECOVERIES                        DEBBIE SUMMEY                               JAN STRATTON LYON
MC 605C PO BOX 366                         PO BOX 2291                                 1400 S BOSTON AVE
DETROIT MI 48231-0366                      800-1937                                    TULSA OK 74119
                                           DURHAM NC 27702




BLUE CROSS CALIFORNIA                      BLUE SHIELD OF CA                           BLUE SHIELD OF CALIFORNIA
PO BOX 5281                                CASH RECEIVING                              CHERI HAHN
CAROL STREAM IL 60197-5281                 PO BOX 241012                               SPECIAL INVESTIGATIONS UNIT
                                           LODI CA 95241                               6300 CANOGA AVE
                                                                                       WOODLAND HILLS CA 91367




BLUECREW INC                               BLUECROSS BLUE SHIELD OF TENNESSEE          BLUMENKRANTZ, DEENA
645 7TH ST                                 1 CAMERON HILL CIR                          695 RHODE ISLAND ST
SAN FRANCISCO CA 94103                     CHATTANOOGA TN 37402                        SAN FRANCISCO CA 94107




BOARINI, BRIAN                             BOERSCH AND ILLOVSKY LLP                    BOOSE-SHEPPARD, SHARON
2661A 21ST                                 1611 TELEGRAPH AVE STE 806                  453 CAPITAL ST
SAN FRANCISCO CA 94110                     OAKLAND CA 94612                            OAKLAND CA 94610




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BOWERS, JENNIE                                BOXGROUP TWO LLC                          BRANDWATCH
360 LANGSTON                                  460 PARK AVE 20TH FL                      MIKE MOORE
STE 301 TO 305                                NEW YORK NY 10022                         48TH WEST 21ST ST
SAN FRANCISCO CA 94103                                                                  NEW YORK NY 10010




BRG-BERKELEY RESEARCH GROUP                   BRJ INVESTMENTS LLC                       BRJ INVESTMENTS, LLC
2200 POWELL ST STE 1200                       2885 SANFORD AVE SW                       JEFF
EMERYVILLE CA 94608                           GRANDVILLE MI 49418                       2885 SANFORD AVE SW
                                                                                        GRANDVILLE MI 49418




BROOKE EFFRON WEINER                          BROWN, DUNCAN                             BROWN, STEWART
35 EAST 85TH ST                               8687 GRATON RD                            820 BROOKCLIFF CIR
APT 9C                                        SEBASTOPOL CA 95473                       SAN RAMON CA 94582
NEW YORK NY 10028




BSCA FEP                                      BUCHHEIT, PAUL                            BUCKEYE HEALTH PLAN
PO BOX 272510                                 1540 HILLVIEW DR                          75 REMITTANCE DR STE 3237
CHICO CA 95927                                LOS ALTOS CA 94024                        CHICAGO IL 60675-3237




BULLEIT GROUP LLC                             BUTLER, KRYSTA                            CADENCE RESEARCH AND CONSULTING
52 GRACE ST                                   92 HORATIO ST #5E                         360 VIA LAS BRISAS
SAN FRANCISCO CA 94103                        NEW YORK NY 10014                         STE 210
                                                                                        THOUSAND OAKS CA 91320




CAINE AND WEINER                              CALIFORNIA AIR RESOURCES BOARD            CALIFORNIA ATTORNEY GENERAL
PO BOX 55848                                  1001 'I' ST                               XAVIER BECERRA
SHERMAN OAKS CA 91413                         PO BOX 2815                               1300 I ST
                                              SACRAMENTO CA 95814                       STE 1740
                                                                                        SACRAMENTO CA 95814




CALIFORNIA CHAMBER OF COMMERCE                CALIFORNIA DEPT OF                        CALIFORNIA DEPT OF CONSERVATION
PO BOX 398336                                 TOXIC SUBSTANCES CONTROL                  801 K ST
SAN FRANCISCO CA 94139-8336                   1001 1 ST                                 MS 24-01
                                              11TH FLOOR                                SACRAMENTO CA 95814
                                              SACRAMENTO CA 95814




CALIFORNIA DEPT OF INDUSTRIAL RELATIONS       CALIFORNIA DEPT OF TAX AND FEE            CALIFORNIA DEPT OF WATER RESOURCES
SAN FRANCISCO                                 ADMINISTRATION                            PO BOX 942836
DIRECTOR                                      450 N ST                                  SACRAMENTO CA 94236
455 GOLDEN GATE AVE 10TH FL                   SAN FRANCISCO CA 95814
SAN FRANCISCO CA 94102




CALIFORNIA ENVIRONMENTAL PROTECTION           CALIFORNIA FRANCHISE TAX BOARD            CALIFORNIA INTEGRATED WASTE
AGENCY                                        BANKRUPTCY BE MS A345                     MANAGEMENT BOARD
1001 'I' ST                                   PO BOX 2952                               1001 I ST
PO BOX 2815                                   SACRAMENTO CA 95812-2952                  PO BOX 2815
SACRAMENTO CA 95812-2815                                                                SACRAMENTO CA 95812-2815




CALIFORNIA STATE BOARD OF EQUALIZATION SBOE   CALIFORNIA STATE CONTROLLER'S OFFICE      CALYPSO
SPECIAL OPERATIONS BANKRUPTCY TEAM            UNCLAIMED PROPERTY DIVISION               PO BOX 327
MIC 74 PO BOX 942879                          10600 WHITE ROCK RD                       SEATTLE WA 98111-0327
SACRAMENTO CA 94279-0074                      STE 141
                                              RANCHO CORDOVA CA 95670




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CANARY LLC                                CANON FINANCIAL SVC INC                       CANON SOLUTIONS AMERICA INC
745 DISTELDRIVE STE 5                     14904 COLLECTIONS CTR DR                      300 COMMERCE SQUARE BLVD
LOS ALTOS CA 94022                        CHICAGO IL 60693-0149                         BURLINGTON NJ 08016




CANTEEN REFRESHMENT SVC                   CAPELLO, NICOLAS                              CAPITAL PARTNERS III LP
PO BOX 50196                              3331 MACARTHUR BLVD                           2770 SAND HILL RD
DIVISION OF COMPASS GROUP                 OAKLAND CA 94602                              MENLO PARK CA 94025
LOS ANGELES CA 90074-0196




CAPITAL TYPING                            CARAVEL PARTNERS LLC                          CAREER GROUP COMPANIES
BOX 436                                   795 FOLSOM ST 1 ST FL                         10100 SANTA MONICA BLVD STE 900
BLUFFTON SC 29910                         SAN FRANCISCO CA 94107                        LOS ANGELES CA 90067
                                                                                        LOS ANGELES CA 90067




CARIOLA DIEZ PEREZ COTAPOS SPA            CARMICHAEL, ALEXANDRA                         CARPENTER, STEPHANIE
CORPBANCA NEW YORK BRANCH                 660 HUDSON ST                                 360 LANGSTON
885 THIRD AVE                             REDWOOD CITY CA 94061                         STE 301 TO 305
NEW YORK NY 10022                                                                       SAN FRANCISCO CA 94103




CARROLL, LAUREN                           CARSON, GLENN                                 CAUGHEY, ADAM
360 LANGSTON                              3138 CALIFORNIA ST                            975 DOLORES ST
STE 301 TO 305                            APT 6                                         SAN FRANCISCO CA 94110
SAN FRANCISCO CA 94103                    BERKELEY CA 94703




CAVAROCCHI RUSCIO DENNIS ASSOCIATES LLC   CENTRAL CALIFORNIA ALLIANCE FOR HEALTH DEPT   CHASE BANK
600 MARYLAND AVE SW STE 835 WEST          1600 GREEN HILLS RD                           NATIONAL BANK BY MAIL
WASHINGTON DC 20024                       SCOTTS VALLEY CA 95066                        PO BOX 36520
                                                                                        LOUISVILLE KY 40233




CHICAGO LABORERS HEALTH CLAIMS DEPT       CHIEF OUTSIDERS                               CHINA PAT INTELLECTUAL PROPERTY OFFICE
11465 W CERMAK RD                         800 ROCKMEAD DR STE 200                       ZHONGGUANCUN INTELLECTUAL PROPERTY BLDG
WESTCHESTER IL 60154                      KINGWOOD TX 77339                             2ND FL BLOCK B NO21
                                                                                        HAIDIAN SOUTH ROAD HAIDIAN DISTRICT
                                                                                        BEIJING 100080
                                                                                        CHINA


CHO AND PARTNERS                          CHO, ANDREW                                   CHOU, ANGELA
INTELLECTUAL PROPERTY ATTORNEYS           13 CLIFFORD PL                                625 DISTEL DR
6TH FLOOR ANN JAY TOWER                   2L                                            LOS ALTOS CA 94022
208 TEHERANRO GANGNAMGU                   BROOKLYN NY 11222
SEOUL 6220
KOREA


CHOW, RYAN                                CHRISTENSON ELECTRIC INC                      CHUA, MELANIE ANNE
227 ALPHA ST                              17201 NE SACRAMENTO ST                        316 EAST MOLTKE ST
SAN FRANCISCO CA 94134                    PORTLAND OR 97230                             DALY CITY CA 94014




CHUBB INDEMNITY INSURANCE CO              CHUBB INDEMNITY INSURANCE CO                  CHUNG, RYAN
AON RISK INSURANCE SVC WEST INC           ALEX TOKAR                                    795 PACHECO ST
SAN FRANCISCO CA OFFICE                   425 MARKET ST                                 SAN FRANCISCO CA 94116
425 MARKET ST                             STE 2800
STE 2800                                  SAN FRANCISCO CA 94105
SAN FRANCISCO CA 94105




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CIC INNOVATION SVC LLC                  CIGNA                                      CIGNA
1 BROADWAY FL 14                        LAUREN SGRO (THORSELL)                     LAUREN SGRO (THORSELL)
CAMBRIDGE MA 02142                      900 COTTAGE GROVE                          CIGNA COR UNIT C2COR
                                        W3SUI                                      CHATTANOOGA TN 37422
                                        HARTFORD CT 06152




CIGNA ACCENT                            CIGNA HEALTH AND LIFE INSURANCE CO         CIGNA PITTSBURGH
PO BOX 952366                           PO BOX 182223                              PO BOX 392103
ST. LOUIS MO 63195-2366                 CHATTANOOGA TN 37422-7223                  PITTSBURGH PA 15251-9103




CINQUE, MATTHEW                         CISION US INC                              CITY AND COUNTY OF SAN FRANCISCO
325 VERNON ST                           PO BOX 417215                              PO BOX 7425
APT 304                                 BOSTON MA 02241-7215                       SAN FRANCISCO CA 94120-7427
OAKLAND CA 94610




CITY OF VANCOUVER FINANCIAL SVC         CLARK IP                                   CLASSIC RECYCLING NEW YORK CORP
PO BOX 8995                             110 PACIFIC HIGHWAY                        409 RIVER RD
VANCOUVER WA 98668-8995                 STE 30                                     STE 1
                                        NORTH SYDNEY NSW 2060                      CLIFTON NJ 07014
                                        AUSTRALIA




CLEARY, JASMINE                         CMG AND CELESTTECOM                        COASTLINE INTERNATIONAL, INC
604 GRAND ST                            2712 VIA COLIMA                            BRETT
APT 3R                                  CARLSBAD CA 92010                          1207 BANGOR ST
BROOKLYN NY 11211                                                                  SAN DIEGO CA 92106




COLE PARMER INSTRUMENT CO               COLFAX INTERNATIONAL                       COLLEGE OF AMERICAN PATHOLOGISTS CAP
13927 COLLECTIONS CTR DR                2805 BOWERS AVE STE 230                    COLLEGE OF AMERICAN PATHOLOGISTS
CHICAGO IL 60693-0139                   SANTA CLARA CA 95051                       PO BOX 71698
                                                                                   CHICAGO IL 60694-1698




COLLIER SIMON INC                       COLORADO ATTORNEY GENERAL                  COLORADO ATTORNEY GENERAL
1642 WILCOX AVE                         PHIL WEISER                                CONSUMER PROTECTION SECTION
LOS ANGELES CA 90028                    RALPH L CARR COLORADO JUDICIAL CENTER      COLORAD DEPT OF LAW
                                        1300 BROADWAY 10TH FL                      RALPH L CARR JUDICIAL BUILDING
                                        DENVER CO 80203                            1300 BROADWAY 7TH FL
                                                                                   DENVER CO 80203


COLORADO DEPRTMENT OF REVENUE           COLORADO DEPT OF LABOR AND EMPLOYMENT      COLORADO DEPT OF PERSONNEL AND
1375 SHERMAN ST                         EXECUTIVE DIRECTOR                         ADMINISTRATION
DENVER CO 80261                         633 17TH ST                                UNCLAIMED PROPERTY DIVISION
                                        STE 201                                    1580 LOGAN ST
                                        DENVER CO 80202-3660                       DENVER CO 80203




COLORADO DEPT OF PUBLIC HEALTH          COMCAST                                    COMCAST
AND ENVIRONMENT                         ONE COMCAST CTR                            ONE COMCAST CENTER
4300 CHERRY CREEK DR SOUTH              PHILADELPHIA PA 19103                      PHILADELPHIA PA 19103
DENVER CO 80246-1530




COMMONWEALTH OF MASSACHUSETTS DEPT OF   COMP STUDY                                 COMPLLANCE TRAINING ONLINE
REVENUE                                 125 SUMMER ST                              PO BOX 945
PO BOX 7010                             18TH FLOOR                                 DRIPPING SPRINGS TX 78620
BOSTON MA 02204                         BOSTON MA 02110




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COMPTROLLER OF MARYLAND REVENUE             CON EDISON                                  CONDOMI , JORGE
REVENUE ADMINISTRATION CENTER               PO BOX 1702                                 529 #420
80 CALVERT ST                               JAF STATION                                 LA PLATA 1900
ANNAPOLIS MD 21404                          NEW YORK NY 10116-1702                      BUENOS AIRES
                                                                                        ARGENTINA




CONNECTICUT                                 CONNECTICUT ATTORNEY GENERAL                CONNECTICUT DEPT OF LABOR
DEPT OF ENVIRONMENTAL PROTECTION            WILLIAM TONG                                COMMISSIONER
79 ELM ST                                   55 ELM ST                                   200 FOLLY BROOK BLVD
HARTFORD CT 06106-5127                      HARTFORD CT 06141-0120                      WETHERSFIELD CT 06109




CONNECTICUT OFFICE OF THE STATE TREASURER   CONNECTICUT RECOVERY LOCKBOX                CONNECTYOURCARE LLC
UNCLAIMED PROPERTY DIVISION                 PO BOX 931133                               PO 871095
PO BOX 5065                                 CLEVELAND OH 44193-1177                     KANSAS CITY MO 64187-1095
HARTFORD CT 06102




CONSUMER PROTECTION                         CONSUMER PROTECTION DIVISION                CONTINENTAL CASUALTY CO
FOOD SAFETY AND CONSUMER PROTECTION         PO BOX 1508                                 CNA INSURANCE
116 STATE ST                                407 GALISTEO                                PO BOX 790094
DRAWER 20                                   SANTA FE NM 87504-1508                      ST. LOUIS MO 63179-0094
MONTPELIER VT 05620-2901




COOPER, JONATHAN                            COREJOVA, ANDREA                            CORNING INC
83-02 CORNISH AVE                           7312 35TH AVE                               HP AB 02
APT 6G                                      C51                                         NEW YORK NY 14831
ELMHURST NY 11373                           JACKSON HEIGHTS NY 11372




CORP SVC CO                                 CORPORATE FILINGS                           COURT ORDERED DEBT COLLECTIONS
251 LITTLE FALLS DR                         30 N GOULD ST STE 7000                      FRANCHISE TAX BOARD
WILMINGTON DE 19808                         SHERIDAN WY 82801                           PO BOX 3065
                                                                                        RANCHO CORDOVA CA 95741-1328




COUSINS, JON                                COVINGTON AND BURLING LLP                   COVINGTON AND BURLING LLP
88 SOUTHGATE ST                             DOUGLAS SPRAGUE                             DOUGLAS SPRAGUE
REDWOOD CITY CA 94062                       850 TENTH ST NW                             ATTENTION: ACCOUNTING DEPT
                                            WASHINGTON DC 20001                         ONE CITY CENTER
                                                                                        WASHINGTON DC 20001




CRA INTERNATIONAL INC                       CRANE PEST CONTROL                          CREATIVE CIRCLE LLC
200 CLARENDON ST                            2700 GEARY BLVD                             5900 WILSHIRE BLVD 11TH FL
BOSTON MA 02116                             SAN FRANCISCO CA 94118                      LOS ANGELES CA 90036




CSC DE                                      CT CORP                                     CUSTOM VILLAGE
PO BOX 13397                                PO BOX 4349                                 31 E 32ND ST
PHILADELPHIA PA 19101-3397                  CAROL STREAM IL 60197-4349                  STE 908
                                                                                        NEW YORK NY 10016




CUSTOMINK                                   DAIAN, CALIN                                DAILY, RYAN
2910 DISTRICT AVE                           360 LANGSTON                                53 MURRAY AVE
3RD FLOOR                                   STE 301 TO 305                              LARKSPUR CA 94939
FAIRFAX VA 22031                            SAN FRANCISCO CA 94103




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DAN KLORES COMMUNICATIONS LLC            DARDIA, MICHAEL                           DAVIS WRIGHT TREMAINE LLP
261 FIFTH AVE 2 ND FL                    338 BENSON PL                             920 FIFTH AVE
NEW YORK NY 10016                        WESTFIELD NJ 07302                        STE 3300
                                                                                   SEATTLE WA 98104-1610




DAVIS, BRETT                             DAWOODI, SAAD                             DAWSON, JOCELYN
532 JERSEY AVE                           1222 HARRISON ST                          203 QUINCY ST
APT 306                                  APT 7306                                  APT 3A
JERSEY CITY NJ 07302                     SAN FRANCISCO CA 94103                    BROOKLYN NY 11216




DBA MEDIA LLC                            DE LAGE LANDEN FINANCIAL SVC INC          DEANG, LAWRENCE
750 N SAN VICENTE BLVD                   SUSAN MINNUCCI                            11 MILTONIA DR
STE 950                                  PO BOX 41602                              SOUTH SAN FRANCISCO CA 94080
WEST HOLLYWOOD CA 90069                  PHILADELPHIA PA 19101-1602




DEBLANC, JILLIAN                         DEEHAN, SEAN                              DELAWARE ATTORNEY GENERAL
448 VICKSBURG ST                         360 LANGSTON                              KATHY JENNINGS
SAN FRANCISCO CA 94114                   STE 301 TO 305                            CARVEL STATE OFFICE BLDG
                                         SAN FRANCISCO CA 94103                    820 N FRENCH ST
                                                                                   WILMINGTON DE 19801




DELAWARE DEPT OF NATURAL RESOURCES AND   DELAWARE DIVISION OF REVENUE              DELAWARE SECRETARY OF LABOR
ENVIRONMENTAL CONTROL                    820 N FRENCH ST                           SECRETARY
89 KINGS HIGHWAY                         WILMINGTON DE 19801                       4425 N MARKET ST 4TH FL
DOVER DE 19901                                                                     WILMINGTON DE 19802




DELAWARE STATE ESCHEATOR                 DENTSU VENTURES GLOBAL FUND I             DEPT OF AGRICULTURE
UNCLAIMED PROPERTY DIVISION              1-8-1 HIGASHI-SHINBASHI                   TRADE AND CONSUMER PROTECTION
PO BOX 8931                              MINATO-KU                                 2811 AGRICULTURE DR
WILMINGTON DE 19899                      TOKYO                                     PO BOX 8911
                                         JAPAN                                     MADISON WI 53708-8911




DEPT OF ATTORNEY                         DEPT OF CONSUMER AFFAIRS                  DEPT OF CONSUMER PROTECTION
CONSUMER PROTECTION UNIT                 JOSE ANTONIO                              165 CAPITOL AVE
150 SOUTH MAIN ST                        ALICIA RIVERA SECRETARY                   HARTFORD CT 06106
PROVIDENCE RI 02903                      MINILLAS STATION
                                         PO BOX 41059
                                         SANTRUCE PR 00940-1059


DEPT OF FINANCE AND ADMINISTRATION       DEPT OF LABOR GOVERNMENT OF GUAM          DEPT OF LICENSING
PO BOX 9941                              DIRECTOR                                  AND CONSUMER AFFAIRS
LITTLE ROCK AR 72203-9941                STE A-1 197 HERNAN CORTES AVE             PROPERTY AND PROCUREMENT BLDG
                                         STE 301 3RD FLOOR BELL TOWER PLZ          NO 1 SUB BASE ROOM 205
                                         HAGATNA GU 96910                          ST. THOMAS VI 00802




DEPT OF TAXATION AND FINANCE             DEPT OF TOXIC SUBSTANCES CONTROL          DEVANE, TAMMY
NYS DEPT OF TAXATION AND FINANCE         ACCOUNTING UNIT                           360 LANGSTON
OFFICE OF COUNSEL                        8800 CAL CTR DR                           STE 301 TO 305
W A HARRIMAN CAMPUS                      SACRAMENTO CA 95812-1288                  SAN FRANCISCO CA 94103
BUILDING 9
ALBANY NY 12227-0841


DEVICEFUL LTD                            DEXTER DUARTE                             DHL EXPRESS USA
20-22 WENLOCK RD                         522 CARTER ST APT 305C                    16592 COLLECTIONS CTR DR
HOXTON                                   SAN FRANCISCO CA 94134                    CHICAGO IL 60693
LONDON N1 7GU
UNITED KINGDOM




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DHL GLOBAL FORWARDING                    DIGI-KEY CORP                              DIGITAL MOSES LLC
NANCY ASNATH                             701 BROOKS AVE SOUTH                       475 KENT AVE
PO BOX 277233                            THIEF RIVER FALLS MN 56701-0677            805
ATLANTA GA 30384                                                                    BROOKLYN NY 11249




DINMAN, TARA                             DINUZZO, PHIL                              DISTRICT DEPT OF THE ENVIRONMENT
1318 DOLORES ST                          640 POST ST                                1200 FIRST ST NE
SAN FRANCISCO CA 94110                   #305                                       WASHINGTON DC 20002
                                         SAN FRANCISCO CA 94109




DISTRICT OF COLUMBIA ATTORNEY GENERAL    DISTRICT OF COLUMBIA EMPLOYMENT SVC DEPT   DISTRICT OF COLUMBIA OFFICE OF
KARL A RACINE                            DIRECTOR                                   TAX AND REVENUE
441 4TH ST NW                            4058 MINNESOTA AVE NE                      941 NORTH CAPITOL ST NE 1ST FL
STE 1100S                                WASHINGTON DC 20019                        WASHINGTON DC 20002
WASHINGTON DC 20001




DIVISION OF CONSUMER AFFAIRS             DIVISION OF CONSUMER PROTECTION            DN DAVID DO NASCIMENTO
DEPT OF LAW AND PUBLIC SAFETY            DEPT OF COMMERCE                           AV PAULISTA 1294
PO BOX 45027                             160 EAST 300                               16TH FLOOR
NEWARK NJ 07101                          PO BOX 146704                              SAO PAULO 1310
                                         SALT LAKE CITY UT 84114-6704               BRAZIL




DOMO INC                                 DOUBLE HELIX LLC                           DR WANTED
772 EAST UTAH VLY DR                     1296 MAYETTE AVE                           STERLING NATIONAL BANK
AMERICAN FORK UT 84003                   SAN JOSE CA 95125                          PO BOX 75390
                                                                                    CHICAGO IL 60675




DS LAWYERS CANADA LLP                    DUNN AND PANAGOTACOS LLP                   E AND K SCIENTIFIC
891 CHAREST BLVD WEST                    CONSTANTINE PANAGOTACOS                    3575 THOMAS RD
MONTREAL (QC) G1N 2C9                    369 PINE ST                                SANTA CLARA CA 95054-2040
CANADA                                   STE 600
                                         SAN FRANCISCO CA 94104




EAT CLUB                                 EBMS                                       ECARE INDIA PRIVATE LIMITED
PO BOX 8290                              PO BOX 21367                               DEEPAK KUMAR SANGHI
PASADENA CA 91109-8290                   MONTANA MT 59104                           BR COMPLEX 2ND & 3RD FL
                                                                                    WOODS RD NO 2728
                                                                                    CHENNAI
                                                                                    INDIA


ECARE INDIA PRIVATE LIMITED              EDEN TECHNOLOGIES INC                      EDISON NJ ENVIRONMENTAL CENTER
DEEPAK KUMAR SANGHI                      54 GILBERT ST                              2890 WOODBRIDGE AVE
BR COMPLEX NO27 28 WOODS RD              SAN FRANCISCO CA 94103                     EDISON NJ 08837-3679
CHENNAI 2
INDIA




EEOC SAN FRANCISCO DISTRICT OFFICE       EFFECTUS GROUP                             EIDINGER, SAMANTHA
WILLIAM R TAMAYO DIRECTOR                1754 TECHNOLOGY DR                         19 LOUIS RD
450 GOLDEN GATE AVE                      STE 234                                    MIDDLEFIELD CT 06455
5 WEST PO BOX 36025                      SAN JOSE CA 95110
SAN FRANCISCO CA 94102-3661




EIGHT PARTNERS VC FUND I LP              EIGHT PARTNERS VC LLC                      ELEPHANTJOURNALCOM
501 SECOND ST                            PIER 5 STE 101                             2031 16TH ST
STE 300                                  SAN FRANCISCO CA 94111                     BOULDER CO 80302
SAN FRANCISCO CA 94107




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ELLIS BUEHLER MAKUS LLP                  EMBLEMHEALTH INC                           EMPIRE PLAN
980 9TH ST FL 16                         PO BOX 29101                               PO BOX 1600
SACRAMENTO CA 95814                      NEW YORK NY 10087                          KINGSTON NY 12402




ENCOMPASS INC                            ENDICIA                                    ENGAGEDLY INC
PO BOX 823312                            PO BOX 202921                              911 WASHINGTON AVE STE 660
VANCOUVER WA 98682                       DALLAS TX 75320-2921                       ST LOIUS MO 63101




ENJOY SPANISH                            ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
870 MARKET ST                            OFFICE OF GENERAL COUNSEL                  5 POST OFFICE SQUARE
SAN FRANCISCO CA 94102                   ARIEL RIOS BUILDING                        STE 1100
                                         1200 PENNSYLVANIA AVE NW MAIL CODE 2310A   BOSTON MA 02109-7341
                                         WASHINGTON DC 20460




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
290 BROADWAY                             1650 ARCH ST                               SAM NUNN ATLANTA FEDERAL CENTER
NEW YORK NY 10007-1866                   PHILADELPHIA PA 19103-2029                 61 FORSYTH ST SW
                                                                                    ATLANTA GA 30303




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
77 WEST JACKSON BLVD                     1201 ELM ST                                11201 RENNER BLVD
CHICAGO IL 60604-3507                    STE 500                                    LENEXA KS 66219
                                         DALLAS TX 75270




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
1595 WYNKOOP ST                          75 HAWTHORNE ST                            1200 SIXTH AVE
DENVER CO 80202-1129                     SAN FRANCISCO CA 94105                     STE 900
                                                                                    SEATTLE WA 98101




ENVOY                                    EPPENDORF NORTH AMERICA INC                EQUIAN LLC BIN 141989
1410 TOWNSEND                            102 MOTOR PKWY                             PO BOX 277
STE 410                                  HAUPPAUGE NY 11788                         INDIANAPOLIS IN 46206-0277
SAN FRANCISCO CA 94107




EREALTY ADVISORS INC                     ERNST AND YOUNG LLP                        ESQUARED PARTNERS LLC
777 WESTCHESTER AVE STE 101              ERNST AND YOUNG US LLP                     127 THORNDIKE ST
WHITE PLAINS NY 10604                    725 S FIGUEROA ST                          STE 2
                                         STE 500                                    CAMBRIDGE MA 02141
                                         LOS ANGELES CA 90017




ETHICAL AND INDEPENDENT REVIEW SVC LLC   EVANSTON INSURANCE CO                      EVANSTON INSURANCE CO
14400 E 42ND ST                          AON RISK INSURANCE SVC WEST INC            ALEX TOKAR
STE 240                                  SAN FRANCISCO CA OFFICE                    425 MARKET ST
INDEPENDENCE MO 64055                    425 MARKET ST                              STE 2800
                                         STE 2800                                   SAN FRANCISCO CA 94105
                                         SAN FRANCISCO CA 94105


EVERYTHING GROWS INTERIOR                EZ BUILDING MAINTENANCE CORP               FACES BY EMILY
AMAZING PLANTS AMAZING SVC               51-71 47TH STREET                          1520 E CAPITOL EXPY #13
696 SAN RAMON VLY BLVD STE 366           WOODSIDE NY 11377                          SAN JOSE CA 95121
DANVILLE CA 94526




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FAROOQ, RAMSHA                             FASKEN                                      FCANCER
360 LANGSTON                               333 BAY ST STE 2400                         9854 NATIONAL BLVD 280
STE 301 TO 305                             PO BOX 20                                   LOS ANGELES CA 90034
SAN FRANCISCO CA 94103                     TORONTO ON M5H 2T6
                                           CANADA




FD LAW LLP                                 FEDERAL INSURANCE CO                        FEDERAL INSURANCE CO
PO BOX 3186                                AON RISK INSURANCE SVC WEST INC             ALEX TOKAR
ALAMEDA CA 94501                           SAN FRANCISCO CA OFFICE                     425 MARKET ST
                                           425 MARKET ST                               STE 2800
                                           STE 2800                                    SAN FRANCISCO CA 94105
                                           SAN FRANCISCO CA 94105


FEDEX                                      FEYNMAN EXPLORATION LLC                     FITNESS SF
PO BOX 660481                              60 29TH ST                                  10 FIFER AVE
DALLAS TX 75266                            SAN FRANCISCO CA 94110                      CORTE MADERA CA 94925




FLETCHER, LAUREN                           FLG PARTNERS LLC                            FLOQAST INC
23913 BENNINGTON DR                        PO BOX 556                                  14721 CALIFA ST
VALENCIA CA 91354                          ROSS CA 949570556                           LOS ANGELES CA 90011
                                           ROSS CA 94957-0556




FLORDELIZA, DANIELLE NICOLE                FLORIDA AGENCY FOR WORKFORCE INNOVATION     FLORIDA ATTORNEY GENERAL
35 KENT CT                                 DIRECTOR                                    ASHLEY MOODY
APT 14                                     THE CALDWELL BUILDING                       OFFICE OF THE ATTORNEY GENERAL
DALY CITY CA 94015                         107 EAST MADISON ST STE 100                 THE CAPITOL
                                           TALLAHASSEE FL 32399                        PL-01
                                                                                       TALLAHASSEE FL 32399-1050


FLORIDA DEPT OF ENVIRONMENTAL PROTECTION   FLORIDA STATE                               FOLEY HOAG LLP
3900 COMMONWEALTH BLVD                     UNCLAIMED PROPERTY DIVISION                 155 SEAPORT BLVD
MS 49                                      200 EAST GAINES ST                          BOSTON MA 02210-2600
TALLAHASSEE FL 32399                       TALLAHASSEE FL 32399




FORMLABS INC                               FREDRIKSON AND BYRON PA                     FRITZ, REBECCA
35 MEDFORD ST STE 101                      PO BOX 1484                                 2421 TURK ST
SOMERVILLE MA 02143-4237                   MINNEAPOLIS MN 55480-1484                   SAN FRANCISCO CA 94118




FULGHAM, KEVIN                             FULTS CONSULTING LLC                        GADGIL MD MPH , MEGHANA
2046 47TH AVE                              6107 SW MURRAY BLVD #273                    MEGHANA GADGIL
SAN FRANCISCO CA 94116                     BEAVERTON OR 97007                          1701 TRINITY ST
                                                                                       HDB
                                                                                       AUSTIN TX 78712




GAINOR TEMPORARIES INC                     GALL, ULRICH                                GALVIN TECHNOLOGIES
489 5TH AVE FLR 2                          2/F NO3 TAI YUEN NEW VILLAGE                4622 W 72ND ST
NEW YORK NY 10017                          LAMMA ISLAND                                INDIANAPOLIS IN 46268
                                           HONG KONG




GALYON, FARRIS                             GANGESKAR, HANS J                           GARDHI VILA SC
2117 LEWIS ST                              4675 NE 2ND AVE                             CALLE SEVERO DÃAZ 38
HERCULES CA 94547                          MIAMI FL 33137                              ARCOS VALLARTA 44130
                                                                                       MEXICO




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GASS, GRAHAM                              GB COLLECTS RECOVERY OVERPAYMENT DIVISION   GEHA
380 PARK ST                               1253 HADDONFIELD BERLIN RD                  PO BOX 410014
SAN LEANDRO CA 94577                      VOORHEES NJ 08043                           KANSAS CITY MO 64179-9775




GENSCRIPT USA INC                         GEORGIA ATTORNEY GENERAL                    GEORGIA DEPT OF LABOR
ACCOUNTING DEPT                           CHRIS CARR                                  COMMISSIONER
860 CENTENNIAL AVE                        40 CAPITAL SQUARE SW                        SUSSEX PLACE ROOM 600
PISCATAWAY NJ 08854                       ATLANTA GA 30334-1300                       148 ANDREW YOUNG INTERNATIONAL BLVD NE
                                                                                      ATLANTA GA 30303




GEORGIA DEPT OF NATURAL RESOURSES         GEORGIA DEPT OF NATURAL RESOURSES           GEORGIA DEPT OF REVENUE
COMMISIONER'S OFFICE                      ENVIRONMENTAL PROTECTION DIVISION           UNCLAIMED PROPERTY PROGRAM
2 MARTIN LUTHER KING JR DR SE             2 MARTIN LUTHER KING JR DR SE               4245 INTERNATIONAL PK
STE 1252 EAST TOWER                       STE 1152 EAST TOWER                         STE A
ATLANTA GA 30334                          ATLANTA GA 30334                            HAPEVILLE GA 30354




GEORGIA DEPT OF REVENUE NE                GETMAGIC.COM                                GIBSON DUNN AND CRUTCHER LLP
1800 CENTURY CTR BLVD                     5839 CAPILANO DR                            PO BOX 840723
ATLANTA GA 30345                          SAN JOSE CA 95138                           LOS ANGELES CA 90084




GITHUB                                    GLASGOW3 LLC                                GLEN RESEARCH
88 COLIN P KELLY JR ST                    978 HIGHLANDS CIR                           22825 DAVIS DR
SAN FRANCISCO CA 94107                    LOS ALTOS CA 94024                          STE 100
                                                                                      STERLING VA 20164




GLIDIAN INC                               GLOBAL INDUSTRIAL EQUIPMENT                 GLORIA, VINCENT
224 SEQUOIA AVE                           2505 MILL CTR PKWY                          90 DUVAL DR
SOUTH SAN FRANCISCO CA 94080              BUFORD GA 30518-3700                        SOUTH SAN FRANCISCO CA 94080




GMI OPCO                                  GODDARD, AUDREY                             GODZICH, TIMOTHY M
6511 BUNKER LAKE BLVD                     72 MERCED AVE                               715 COOK ST
RAMSEY MN 55303                           SAN FRANCISCO CA 94127                      DENVER CO 80206




GOLDEN RULE                               GOLDWERGER, EYAL                            GONZALEZ, EMILIO
POBOX 31372                               12 E 86TH ST                                1501 CAMINO DEL CERRO
SALT LACK UT 84131-0374                   APT 1400                                    CONDOMINIUM EL MIRADOR DE LO CAMPINO HOUSE
                                          NEW YORK NY 10028                           44
                                                                                      QUILICURA
                                                                                      CHILE


GONZALEZ, JORGE HERNANDEZ                 GOOGLE LLC                                  GORTZOUNIAN, DEEPTI
34 W 139TH ST APT 8B                      1600 AMPHITHEATRE PKWY                      1145 FOREST DR
NEW YORK NY 10037                         MOUNTAIN VIEW CA 94043                      CLARK NJ 07066




GRAY, BROOKE                              GRAYBOW, BRIAN                              GREAT AMERICAN INSURANCE CO
10 NAVAJO TRL                             110-20 71ST AVE                             AON RISK INSURANCE SVC WEST INC
SAVANNAH TN 38372                         APT 423                                     SAN FRANCISCO CA OFFICE
                                          FOREST HILLS NY 11375                       425 MARKET ST
                                                                                      STE 2800
                                                                                      SAN FRANCISCO CA 94105




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GREAT AMERICAN INSURANCE CO                 GREAT IOWA TREASURE HUNT                  GREATIST INC
ALEX TOKAR                                  UNCLAIMED PROPERTY DIVISION               30 VANDAM ST
425 MARKET ST                               LUCAS STATE OFFICE BLDG                   3RD FLOOR
STE 2800                                    1ST FL                                    NEW YORK NY 10013
SAN FRANCISCO CA 94105                      DES MOINES IA 50319




GREATWESTHEALTHCARE CIGNA                   GRECH, MEGHAN                             GREEN, LA'KARA
8505 E ORCHARD RD                           43 MONTECITO AVE # 4                      1421 8TH ST APT C
GREENWOOD VILLAGE CO 80111                  PACIFICA CA 94044                         ALAMEDA CA 94501




GREENBERG TRAURIG LLP                       GREENE INK INC                            GREENE, CLAIRE
2101 L ST NW STE 1000                       1983 BEACH BLVD                           3421 25TH ST
WASHINGTON DC 20037                         STE S-220                                 #4
                                            PACIFICA CA 94044                         SAN FRANCISCO CA 94110




GREENHOUSE SOFTWARE INC                     GROWTH IP                                 GROWTH PILOTS
110 5TH AVE FL 3                            13480 CHELLY CT                           231 SANSOME ST
NEW YORK NY 10011                           SAN DIEGO CA 92129                        5TH FLOOR
                                                                                      SAN FRANCISCO CA 94104




GTMHUB                                      GUAM DEPT OF NATURAL RESOURCES            GUARDADO, MONICA
24A RAYSKA GRADINA STR                      DEPT OF AGRICULTURE                       2601 11TH AVE # 1
SOFIA CITY                                  163 DAIRY RD                              OAKLAND CA 94606
SOFIA 1619                                  MANGILAO GU 96913
BULGARIA




GUINTU, KRISTIAN MATTHEW                    GUNDERSON DETTMER STOUGH VILLENEUVE       GUPTA, SARAH
32429 JEAN DR                               FRANKLIN AND HACHIGIAN LLP                82 COLLINS ST
UNION CITY CA 94587                         550 ALLERTON ST                           SAN FRANCISCO CA 94118
                                            REDWOOD CITY CA 94063




GUSTO                                       HALLER, CHASE                             HAMANA, KASEY
ZENPAYROLL INC                              4103 OVAL PL                              169 ARLINGTON AVE
500 THIRD ST STE 405                        GREENWOOD IN 46142                        BERKELEY CA 94707
SAN FRANCISCO CA 94107




HANSON, ROBERT                              HAPPILABS LLC                             HARDWOOD PRODUCTS CO LP PURITAN
2210 STOCKTON ST                            2242 W HARRISON ST                        31 SCHOOL ST
2061                                        STE 204                                   PO BOX 149
SAN FRANCISCO CA 94133                      CHICAGO IL 60612                          GUILFORD ME 04443




HARIK, GEORGES                              HARRIMAN, MARGARET                        HARRIS AND LEE ENVIRONMENTAL SCIENCES LLC
555 BRYANT ST                               1903 23RD ST                              120 ROSS VLY DR
#513                                        APT 1                                     SAN RAFAEL CA 94901
PALO ALTO CA 94301                          SAN FRANCISCO CA 94107




HARVARD MEDICAL SCHOOL                      HARVARD PILGRIM                           HARVARD PILGRIM
COUNTWAY LIBRARY 10 SHATTUCK ST 4TH FLOOR   CHRISTOPHER WALSH                         ANNA LE
BOSTON MA 02115                             1600 CROWN COLONY DR                      HARVARD PILGRIM HEALTH CARE
                                            QUINCY MA 02169                           SPECIAL INVESTIGATIONS UNIT
                                                                                      1600 CROWN COLONY DR
                                                                                      QUINCY MA 02169




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HASHEMI, FARZAD NAZEM AND NOOSHEEM          HAWAII ATTORNEY GENERAL                   HAWAII DEPT OF LABOR AND INDUSTRIAL
LIVING TRUST 7/10/95                        CLARE E CONNORS                           RELATIONS
1259 EL CAMINO REAL #88                     425 QUEEN ST                              DIRECTOR
#88                                         HONOLULU HI 96813                         PRINCESS RUTH KE'ELIKOLANI BUILDING
MENLO PARK CA 94025                                                                   830 PUNCHBOWL ST RM 321
                                                                                      HONOLULU HI 96813


HAWAII DEPT OF LAND AND NATURAL RESOURCES   HAWAII OFFICE OF ENVIRONMENTAL            HAZARDOUS WASTE EXPERTS
KALANIMOKU BUILDING                         QUALITY CONTROL                           2693 RESEARCH PK DR
1151 PUNCHBOWL ST                           235 SOUTH BERETANIA ST                    STE 201
HONOLULU HI 96813                           STE 702                                   FITCHBURG WI 53711
                                            HONOLULU HI 96813




HEALTH CARE SERV CORP                       HEALTH CARE SVC CORP                      HEALTH FIRST NY
REFUND DEPT CASH DISBURSEMENTS              PO BOX 731431                             100 CHURCH ST
25718 NETWORK PL                            DALLAS TX 75373-1431                      NEW YORK NY 10007
CHICAGO IL 60673-1257




HEALTH NET HEALTH PLAN OF OREGON INC        HEALTH NET OF CA REFUNDS                  HEALTH NET REFUNDS
PO BOX 894290                               FILE #056527                              PO BOX 749801
LOS ANGELES CA 90189-4290                   LOS ANGELES CA 90074-6527                 LOS ANGELES CA 90074-9801




HEALTH PARTNERS CLAIMS DEPT                 HEALTH PARTNERS MN                        HEALTHFIRST
PO BOX 1289                                 PO BOX 9463                               PO BOX 5198
MINNEAPOLIS MN 55440-1289                   MINNEAPOLIS MN 55440                      NEW YORK NY 10275-0304




HEALTHNET RECOVERY                          HEAP INC                                  HELP SCOUT
FILE 56527                                  225 BUSH ST STE 200                       131 TREMONT ST
LOS ANGELES CA 90074                        SAN FRANCISCO CA 94104                    3RD FLOOR
                                                                                      BOSTON MA 02111-1338




HENCO PLUMBING SVC LLC                      HENRICHSEN, MARIA                         HERNANDEZ, CARLA
313 NW 209TH ST                             63 ORCHARD ST                             360 LANGSTON
RIDGEFIELD WA 98642                         MANHASSET NY 11030                        STE 301 TO 305
                                                                                      SAN FRANCISCO CA 94103




HICKS, SCHANITA                             HILARIO, JASMINE MAY                      HILTY, KRISTIN
2772 SACRAMENTO ST                          444 TEMPLETON AVE                         24 MUTH DR
SAN FRANCISCO CA 94115                      DALY CITY CA 94014                        ORINDA CA 94563




HIPPO READS LLC                             HOAGLIN, MICHAEL                          HOGAN LOVELLS US LLP
1025 WESTWOOD BLVD                          360 LANGSTON                              555 13TH ST NW
2ND FLOOR                                   STE 301 TO 305                            WASHINGTON DC 20004-1109
LOS ANGELES CA 90024                        SAN FRANCISCO CA 94103




HOLLIDAY, COLBY                             HONG, CHRISTOPHER                         HONGO, CHERRIE
35 CONRAD ST                                540 WESLEY AVE                            2779 BAY TREE DR
SAN FRANCISCO CA 94131                      OAKLAND CA 94606                          FAIRFIELD CA 94533




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HORIZON BCBSNJ                           HORIZON BLUE CROSS BLUE SHIELD OF NJ        HOSSEINI, MARYAM
PO BOX 11595                             DAVID MENENDEZ                              675 UPLAND RD
NEWARK NJ 07193-1595                     PO BOX 200145                               REDWOOD CITY CA 94062
                                         NEWARK NJ 07102




HSLEGALL LLP                             HUANG, AIMEE                                HULPHERS, ELIZABETH
80 RAFFLES PL                            360 LANGSTON                                147 N 4TH ST
SINGAPORE 48624                          STE 301 TO 305                              APT 3
SINGAPORE                                SAN FRANCISCO CA 94103                      BROOKLYN NY 11211




HUMANA HEALTH CARE PLANS                 HUMANA MILITARY                             IDAHO ATTORNEY GENERAL
PO BOX 931655                            TRICARE EAST REFUND RECOUPMENTS             LAWRENCE G WASDEN
ATLANTA GA 31193-1655                    PO BOX 8967                                 700 W JEFFERSON ST
                                         MADISON WI 53708-8967                       PO BOX 83720
                                                                                     BOISE ID 83720-1000




IDAHO ATTORNEY GENERAL'S OFFICE          IDAHO DEPT OF ENVIRONMENTAL QUALITY         IDAHO DEPT OF LABOR
CONSUMER PROTECTION UNIT                 1410 N HILTON                               DIRECTOR
650 WEST STATE ST                        BOISE ID 83706                              317 W MAIN ST
BOISE ID 83720-0010                                                                  BOISE ID 83735




IDAHO DEPT OF WATER RESOURCES            IDAHO STATE TAX COMMISSION                  IDAHO STATE TREASURER
322 EAST FRONT ST                        800 E PK BLVD                               UNCLAIMED PROPERTY DIVISION
PO BOX 83720                             PLAZA IV                                    304 N 8TH ST
BOISE ID 83720                           BOISE ID 83712-7742                         STE 208
                                                                                     BOISE ID 83702




IDESIGNEDU, LLC                          ILLINOIS ATTORNEY GENERAL                   ILLINOIS ATTORNEY GENERAL
SALEEN HEARON                            KWAME RAOUL                                 CONSUMER PROTECTION DIVISION
800 JACKSON ST STE 384                   JAMES R THOMPSON CENTER                     100 WEST RANDOLPH ST
STE 384                                  100 W RANDOLPH ST                           CHICAGO IL 60601
DALLAS TX 75202                          CHICAGO IL 60601




ILLINOIS DEPT OF LABOR                   ILLINOIS DEPT OF REVENUE                    ILLINOIS ENVIRONMENTAL PROTECTION AGENCY
DIRECTOR                                 JAMES R THOMPSON CENTER CONCOURSE LEVEL     1021 NORTH GRAND AVE EAST
160 N LASALLE ST                         100 WEST RANDOLPH ST                        PO BOX 19276
13TH FL STE C-1300                       CHICAGO IL 60601-3274                       SPRINGFIELD IL 62794-9276
CHICAGO IL 60601




ILLINOIS STATE TREASURER'S OFFICE        ILLUMINA INC                                IMPACT GROUP LLC
UNCLAIMED PROPERTY DIVISION              12864 COLLECTIONS CTR DR                    12977 NORTH OUTER 40 DR STE 300
PO BOX 19495                             CHICAGO IL 60693                            ST. LOUIS MO 63141
SPRINGFIELD IL 62794-9495




IMPACT MFG LLC                           IN TOUCH                                    INDIANA ATTORNEY GENERAL
15250 DON JULIAN RD                      3101 IRVING AVE SOUTH                       CURTIS T HILL JR
CITY OF INDUSTRY CA 91745                MINNEAPOLIS MN 55408                        INDIANA GOVERNMENT CENTER SOUTH
                                                                                     302 WEST WASHINGTON ST 5TH FL
                                                                                     INDIANAPOLIS IN 46204-2770




INDIANA DEPT OF ENVIRONMENTAL MGMT       INDIANA DEPT OF LABOR                       INDIANA DEPT OF NATURAL RESOURCES
OFFICE OF AIR QUALITY (COMPLIANCE)       COMMISSIONER                                402 WEST WASHINGTON ST
100 N SENATE AVE                         402 WEST WASHINGTON ST                      INDIANAPOLIS IN 46204
MAIL CODE 50-01                          ROOM W195
INDIANAPOLIS IN 46204-2251               INDIANAPOLIS IN 46204




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INDIANA DEPT OF REVENUE                   INDIANA UNCLAIMED PROPERTY                  INDIANA UNIVERSITY
BANKRUPTCY SECTION MS 108                 302 W WASHINGTON ST                         INDIANA UNIVERSITY - CONFERENCES
100 NORTH SENATE AVE RM N240              INDIANAPOLIS IN 46204                       PO BOX 6212
INDIANAPOLIS IN 46204                                                                 INDIANAPOLIS IN 46206-6212




INLAND EMPIRE HEALTH PLAN                 INNERWORKINGS                               INNOVATION POLICY SOLUTIONS LLC
PO BOX 1800                               600 W CHICAGO AVE 850                       1012 14 TH ST NW STE 500
RANCHO CUCAMONGA CA 91729-1800            CHICAGO IL 60654                            WAHINGTON DC 20005




INNOVATIVE FUND LLC                       INSTACART                                   INTEGRATED BEHAVIORAL HEALTH INC
73 SPRING ST                              50 BEALE ST                                 3070 BRISTOL ST STE 350
#207                                      6TH FLOOR                                   COSTA MESA CA 92626
NEW YORK NY 10012                         SAN FRANCISCO CA 94105




INTEGRATED DNA TECHNOLOGIES INC           INTERNAL REVENUE SVC                        INTERNAL REVENUE SVC
25104 NETWORK PL                          1111 CONSTITUTION AVE NW                    PO BOX 7704
CHICAGO IL 60673-1251                     WASHINGTON DC 20224                         SAN FRANCISCO CA 94120




INTERNATIONAL SOCIETY FOR                 INVISION                                    INVIVOGEN
COMPUTATIONAL BIOLOGY                     PO BOX 32126                                10515 VISTA SORRENTO PKWY
525K EAST MARKET STREET RM 330            NEW YORK NY 10087                           SAN DIEGO CA 92121
LEESBURG VA 20176




IOWA ATTORNEY GENERAL                     IOWA DEPT OF NATURAL RESOURCES              IOWA DEPT OF REVENUE
TOM MILLER                                502 E 9TH ST                                PO BOX 10471
HOOVER STATE OFFICER BLDG                 4TH FL                                      DES MOINES IA 50306-3457
1305 E WALNUT 2ND FL                      DES MOINES IA 50319-0034
DES MOINES IA 50319




IOWA WORKFORCE DEVELOPMENT                IRS INTERNAL REVENUE SVC                    ISPECIMEN
DIRECTOR                                  10TH ST AND PENNSYLVANIA AVE NW             450 BEDFORD ST
1000 EAST GRAND AVE                       WASHINGTON DC 20530                         LEXINGTON MA 02420
DES MOINES IA 50319




ITUNES                                    JACKSON, NAKESHA                            JOHANSON, ELAINE
APPLE COMPUTER CO                         1027 MISSOURI ST APT 5                      28 HAYMARKET LN
LEGAL DEPT                                FAIRFIELD CA 94533                          BRYN MAWR PA 19010
10500 NORTH DE ANZA BLVD
CUPERTINO CA 95014




JOHNSON, NANCY                            JOHNSON, SUSAN                              JONES, RL
1000 UCCELLI DR                           360 LANGSTON                                8830 SIEMPRE VIVA RD STE 100
REDWOOD CITY CA 94063                     STE 301 TO 305                              SAN DIEGO CA 92154
                                          SAN FRANCISCO CA 94103




JUN, CLAIRE YUNSEON                       JUNG, DOH                                   JUNG, JOEL
1 MANDALAY PL UNIT 1803                   10 CITY PT                                  2 HARRAN CIR
SOUTH SAN FRANCISCO CA 94080              24C                                         ORINDA CA 94563
                                          BROOKLYN NY 11201




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KAISER                                   KAISER FOUNDATION HEALTH PLAN                KAISER PERMANENTE NORTHERN CA
KAISER FOUNDATION HEALTH PLAN            GIANG LE                                     PO BOX 742120
FILE 5915                                KAISER PERMANENTE                            LOS ANGELES CA 90074-2120
LOS ANGELES CA 90074-5915                REGIONAL CLAIMS RECOVERY
                                         FILE 50187
                                         LOS ANGELES CA 90074


KANSAS ATTORNEY GENERAL                  KANSAS DEPT OF                               KANSAS DEPT OF HUMAN RESOURCES
DEREK SCHMIDT                            HEALTH AND ENVIRONMENT                       SECRETARY
120 SW 10TH AVE                          JENNIFER NICHOLS                             MILLS BUILDING
2ND FL                                   2501 MARKET PL                               109 SW 9TH ST
TOPEKA KS 66612-1597                     STE D                                        4TH FL
                                         SALINA KS 67401                              TOPEKA KS 66612-1588


KANSAS DEPT OF REVENUE                   KANSAS STATE TREASURER                       KAPA BIOSYSTEMS INC
915 SW HARRISON ST                       UNCLAIMED PROPERTY DIVISION                  200 BALLARDVALE ST
TOPEKA KS 66625-9000                     900 SW JACKSON                               STE 250
                                         STE 201                                      WILMINGTON MA 01887
                                         TOPEKA KS 66612-1235




KARASAVVA, MICHELLE                      KARV COMMUNICATIONS INC                      KEKST AND CO INC
2735 21ST ST                             122 EAST 42ND ST STE 2005                    NATHAN RIGGS
SAN FRANCISCO CA 94110                   NEW YORK NY 10168                            RE: SOURCES USA
                                                                                      PUBLICIS COMMUNICATIONS COLLECTION
                                                                                      ACCOUNT
                                                                                      LONG ISLAND CITY NY 11001-0528


KEKST AND COMPANY, INC                   KENTUCKY ATTORNEY GENERAL                    KENTUCKY DEPT FOR NATURAL RESOURCES
NATHAN RIGGS                             ANDY BESHEAR                                 LINDA POTTER
PO BOX 1528                              700 CAPITOL AVE                              300 SOWER BLVD
LONG ISLAND CITY NY 11001                CAPITAL BUILDING SUITE 118                   FRANKFORT KY 40601-4311
                                         FRANKFORT KY 40601




KENTUCKY DEPT OF REVENUE                 KENTUCKY ENVIRONMENTAL QUALITY COMMISSION    KENTUCKY FOR ENVIRONMENTAL PROTECTION
501 HIGH ST                              58 WILKINSON BLVD                            300 FAIR OAKS LN
FRANKFORT KY 40601-2103                  FRANKFORT KY 40601                           FRANKFORT KY 40601




KENTUCKY LABOR CABINET                   KENTUCKY STATE TREASURER                     KENTUCKY STATE TREASURER
SECRETARY                                UNCLAIMED PROPERTY DIVISION                  KENTUCKY DEPT OF REVENUE
1047 US HWY 127 SOUTH STE 4              1050 US HWY 127 SOUTH                        1050 US HIGHWAY 127 S
FRANKFORT KY 40601                       STE 100                                      STE 100
                                         FRANKFORT KY 40601                           FRANKFORT KY 40620-0021




KHILNANI, RITIKA                         KHOURY, JACQUELINE                           KILPATRICK TOWNSEND
767 CORBETT AVE #2                       640 MASON ST                                 HYACINTH CAMPBELL
SAN FRANCISCO CA 94131                   #205                                         PO BOX 39000
                                         SAN FRANCISCO CA 94108                       SAN FRANCISCO CA 94139




KILPATRICK TOWNSEND                      KISI INC                                     KLEIN LIMITED PARTNERSHIP
HYACINTH CAMPBELL                        45 MAIN ST                                   795 NORIEGA ST
DEPT #34542                              STE 723                                      SAN FRANCISCO CA 94122
PO BOX 39000                             BROOKLYN NY 11201
SAN FRANCISCO CA 94139




KOIVUNEN, OTTO                           KOTHARI, BEENET                              KOURAKOS, ELLEN
532 STEINER ST                           1107 BROADWAY                                163 W 17TH ST
SAN FRANCISCO CA 94117                   APT 15D                                      APT 2C
                                         NEW YORK NY 10010                            NEW YORK NY 10011




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KRAAL, LAURENS                           KRUSZEWSKI, TYLER                            KUO, VINCENT
1042 HAIGHT ST                           442 N SLOAN ST                               2920 ANZA ST
APT 3                                    PHILADELPHIA PA 19104                        SAN FRANCISCO CA 94121
SAN FRANCISCO CA 94117




LABORATORY OF CONSULTING                 LABREE, DAVID                                LAHEY, SUSIE
15 HILLVIEW AVE                          1857 BRENTWOOD RD                            1719 EASTON DR
REDWOOD CITY CA 94062                    OAKLAND CA 94602                             BURLINGAME CA 94010




LAHLOUH                                  LAKE GROUP MEDIA INC                         LAMONT HANLEY ASSOCIATES INC
DEPT 33016                               1 BYRAM BROOK PL                             1138 ELM ST PO BOX 179
PO BOX 39000                             ARMONK NY 10504                              MANCHESTER NH 03105
SAN FRANCISCO CA 94139-3016




LANGGAM, DARRENE YVONNE                  LANPHIER, MARGARET                           LARAKI, OTHMAN
0038 AA E RODRIGUEZ JR                   424 ELLINGTON AVE                            1 FREDRICK AVE
SAN AGUSTIN VILL MOONWALK                SAN FRANCISCO CA 94112                       ATHERTON CA 94027
PARAÃ±AQUE, CA 1709
PHILIPPINES




LARKR-ON DEMAND VIDEO THERAPY            LATHAM AND WATKINS LLP                       LAURANCE O AND JEANETTE O MATHEWS
737 ZUNI ST                              PO BOX 894256                                FAMILY TRUST
SOUTH LAKE TAHOE CA 96150                LOS ANGELES CA 90189-4483                    JENNY MATTHEWS
                                                                                      15 ACACIA AVE
                                                                                      BELVEDERE TIBURON CA 94920




LAURANCE O AND JEANETTE O MATHEWS        LAW OFFICE OF AARON G NISSEN                 LAWSON LUNDELL LLP
FAMILY TRUST                             AARON NISSEN                                 1600 CATHEDRAL PL
360 RITCH ST STE 204                     330 PARK VIEW TER APT #409                   925 WEST GEORGIA ST
SAN FRANCISCO CA 94107                   OAKLAND CA 94610                             VANCOUVER BC V6C3L2
                                                                                      CANADA




LEBLON CAPITAL GMBH                      LEE, CARMEN                                  LEGACY MECHANICAL AND ENERGY SVC
LEIBNIZSTRASSE 40                        2018 80TH ST                                 3130 CROW CANYON PL # 410
BERLIN 10629                             BROOKLYN NY 11214                            SAN RAMON CA 94583
GERMANY




LEON, JANELLE                            LEWIS BRISBOIS BISGAARD AND SMITH LLP        LEWIS, MARY
360 LANGSTON                             1 RIVERFRONT PLZ                             52 LEONARD ST
STE 301 TO 305                           STE 800                                      UNIT 107
SAN FRANCISCO CA 94103                   NEWARK NJ 07102                              BEACON NY 12508




LEYDIG, VOIT AND MAYER, LTD              LF VENTURES LLC                              LIFE SCIENCE EDITORS
JONI SIMMONS                             40 WEST 57TH ST                              350 MATTERHORN DR
1981 N BROADWAY STE 310                  NEW YORK NY 10019                            PARK CITY UT 84098
STE 310
WALNUT CREEK CA 94596-5053




LIFE TECHNOLOGIES CORP                   LIFE TIME INC                                LIGHTHOUSE
5781 VAN ALLEY WAY                       2902 CORPORATE PL                            382 RALEIGH ST
CARLSBAD CT 92008                        CHANHASSEN MN 55317                          HOLLY SPRINGS NC 27540




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LIN, WAN TING                             LINGO SPANISH                             LINK, CHRISTOPHER
360 LANGSTON                              425 W 44TH ST                             515 FAIRLAWN RD
STE 301 TO 305                            NEW YORK CITY NY 10036                    LOUISVILLE KY 40207
SAN FRANCISCO CA 94103




LIPSHUTZ, ROB                             LIU, KEVIN                                LLOYD'S OF LONDON
970 PALO ALTO AVE                         1047 STOCKTON ST                          AON RISK INSURANCE SVC WEST INC
PALO ALTO CA 94301                        APT 317                                   SAN FRANCISCO CA OFFICE
                                          SAN FRANCISCO CA 94108                    425 MARKET ST
                                                                                    STE 2800
                                                                                    SAN FRANCISCO CA 94105


LLOYD'S OF LONDON                         LOBCOM                                    LOMADILLA, JAYROLD
ALEX TOKAR                                185 BERRY ST                              137 BARBERA CT
425 MARKET ST                             STE 6100                                  VACAVILLE CA 95687
STE 2800                                  SAN FRANCISCO CA 94107
SAN FRANCISCO CA 94105




LONG, JOANNE                              LONGMIRE, CHRISTINE                       LOUISIANA ATTORNEY GENERAL
360 LANGSTON                              10279 LODESTONE WAY                       JEFF LANDRY
STE 301 TO 305                            PARKER CO 80134                           PO BOX 94095
SAN FRANCISCO CA 94103                                                              BATON ROUGE LA 70804-4095




LOUISIANA DEPT OF ENVIRONMENTAL QUALITY   LOUISIANA DEPT OF REVENUE                 LOUISIANA DEPT OF REVENUE AND TAXATION
LEGAL AFFAIRS DIVISION                    PO BOX 201                                UNCLAIMED PROPERTY DIVISION
GALVEZ BUILDING                           617 NORTH 3RD ST                          PO BOX 91010
602 NORTH FIFTH ST                        BATON ROUGE LA 70821                      BATON ROUGE LA 70821-9010
BATON ROUGE LA 70802




LOUISIANA DEPT OF WORK FORCE COMMISSION   LUDINGTON, WILLIAM                        LUMINEX
SECRETARY                                 304 RAY RD                                12212 TECHNOLOGY BLVD
1001 N 23RD ST                            CHAPEL HILL NC 27516                      AUSTIN TX 78727
BATON ROUGE LA 70802




MAGE ELECTRICAL CONTRACTORS               MAGIC INC                                 MAILCHIMP
156 FLUSHING AVE                          101 E SAN FERNANDO ST                     675 PONCE DE LEON AVE
BROOKLYN NY 11205                         APT 541                                   STE 5000
                                          SAN JOSE CA 95112                         ATLANTA GA 30308




MAINE ATTORNEY GENERAL                    MAINE DEPT OF ENVIRONMENTAL PROTECTION    MAINE DEPT OF LABOR
AARON FREY                                17 STATE HOUSE STATION                    COMMISSIONER
6 STATE HOUSE STATION                     AUGUSTA ME 04333-0017                     54 STATE HOUSE STATION
AUGUSTA ME 04333                                                                    AUGUSTA ME 04333-0054




MAINE REVENUE SVC                         MAIVEN                                    MALCOLM, COLIN
24 STATE HOUSE STATION                    4590 MACARTHUR BLVD                       73 ADAMS ST APT A
AUGUSTA ME 04333                          STE 500                                   HOBOKEN NJ 07030
                                          NEWPORT BEACH CA 92660-2028




MANGINI, DAVID                            MARCELO DE LEON MONTANES                  MARSHALL SCIENTIFIC
209 GREEN ST 2R                           344 ELLIS ST APT11                        102 TIDE MILL RD
BROOKLYN NY 11222                         SAN FRANCISCO CA 94102                    HAMPTON NH 03842




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MARYLAND ATTORNEY GENERAL              MARYLAND DEPT OF LABOR                      MARYLAND DEPT OF NATURAL RESOURCES
BRIAN FROSH                            LICENSING AND REGULATION                    580 TAYLOR AVE
200 ST PAUL PL                         SECRETARY                                   TAWES STATE OFFICE BUILDING
BALTIMORE MD 21202-2022                500 N CALVERT ST STE 401                    ANNAPOLIS MD 21401
                                       BALTIMORE MD 21202




MARYLAND DEPT OF THE ENVIRONMENT       MARYLAND TREASUERE'S OFFICE                 MASSACHUSETTS ATTORNEY GENERAL
1800 WASHINTON BLVD                    UNCLAIMED PROPERTY DIVISION                 MAURA HEALY
BALTIMORE MD 21230                     GOLDSTEIN TREASURY BUILDING                 ONE ASHBURTON PL
                                       80 CALVERT ST                               BOSTON MA 02108-1698
                                       ANNAPOLIS MD 21401




MASSACHUSETTS ATTORNEY GENERAL         MASSACHUSETTS DEPT OF ENVIRONMENT           MASSACHUSETTS DEPT OF LABOR AND
CONSUMER PROTECTION DIVISION           PROTECTION                                  WORK FORCE DEVELOPMENT
MCCORMACK BUILDING                     ONE WINTER ST                               DIRECTOR
ONE ASHBURTON PL                       BOSTON MA 02108                             1 ASHBURTON PL RM 2112
BOSTON MA 02108                                                                    BOSTON MA 02108




MASSACHUSETTS DEPT OF REVENUE          MASSACHUSETTS STATE TREASURER               MATHEW, IAN
100 CAMBRIDGE ST                       UNCLAIMED PROPERTY DIVISION                 49 DUFFIELD ST
BOSTON MA 02114                        ONE ASHBURTON PL                            APT 2F
                                       12TH FL                                     BROOKLYN NY 11201
                                       BOSTON MA 02108-1608




MAYO CLINIC                            MAYO CLINIC HEALTH PLAN                     MAYS, RASHAD
200 FIRST ST SW                        4001 41ST ST NW                             415 38TH ST
ROCHESTER MN 55901                     ROCHESTER MN 55901                          UNION CITY NJ 07087




MCCONNAUGHEY, HILARY                   MCDONALD, CHRISTINA                         MCLEAN, MICHAEL
1976 CALIFORNIA ST                     11688 PETERSBURG PIKE                       1560 MCALLISTER ST
APT 2                                  UPPER TRACT WV 26866                        UNIT 2
SAN FRANCISCO CA 94109                                                             SAN FRANCISCO CA 94115




MCM FAMILY PARTNERS LTD                MCMASTER CARR SANTA FE                      MCMILLAN, PAUL
16724 CALLE HERMOSA                    600 NORTH COUNTY LINE RD                    360 LANGSTON
SAN DIEGO CA 92127                     ELMHURST IL 60126                           STE 301 TO 305
                                                                                   SAN FRANCISCO CA 94103




MCPHARLIN SPRINKLES AND THOMAS LLP     MEDASEND BIOMEDICAL INC                     MEDIALAB INC
160 W SANTA CLARA ST STE 400           PAYMENT PROCESSING                          242 S CULVER ST STE 300
SAN JOSE CA 95113                      CASA GRANDE AZ 85122                        LAWRENCEVILLE GA 30046-3237




MEDICA                                 MEDICA                                      MEDICAL MUTUAL
BARBARA HORN                           BARBARA HORN                                PO BOX 951248
PO BOX 9310                            PO BOX 30990                                CLEVELAND OH 44193-0011
MINNEAPOLIS MN 55440                   SALT LAKE CITY UT 84130




MEDICAL NETWORKING INC                 MEJIA, CLAIRE HEIDI HANSEN                  MELENDRES AND MELENDRES PC
3 SEAL HARBOR RD STE 737               144 OAK SPRINGS DR                          1017 5TH ST NW
WINTHROP MA 01252                      SAN ANSELMO CA 94960                        ALBUQUERQUE NM 87102




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MELLON OVERPAYMENTRECOVERY RECEIPTS     MERCY PHYSICIANS MED GRP D                 MERITAIN HEALTH
DEPT1213                                3990 CONCOURS STE 500                      1405 XENIUM LN NORTH STE 140
PO BOX 121213                           ONTARIO CA 91764                           MINNEAPOLIS MN 55441
DALLAS TX 75312-1213




MERITAIN HEALTH TX                      MERKEN BIOTECH SPA                         MEYOUHAS, JOY GALIA
PO BOX 853921                           AV ZANARTU 1482                            131 SANTA CRUZ AVE
RITHARDSON TX 75085                     NUNOA                                      DALY CITY CA 94014
                                        SANTIAGO 7780272
                                        CHILE




MICARELLI, LISA                         MICHAEL CHANG INC                          MICHAEL PAGE INTERNATIONAL INC
2 WARWICK RD                            1852 CORINTH AVE UNIT 2                    201 BROAD ST
MOUNTAIN LAKES NJ 07046                 LOS ANGELES CA 90025                       STAMFORD CT 06901




MICHIGAN ATTORNEY GENERAL               MICHIGAN DEPT OF ENERGY                    MICHIGAN DEPT OF ENVIRONMENTAL QUALITY
DANA NESSEL                             LABOR AND ECONOMIC GROWTH                  525 WEST ALLEGAN ST
PO BOX 30212                            DIRECTOR OTTAWA BUILDING                   PO BOX 30473
525 W OTTAWA ST                         611 WEST OTTAWA                            LANSING MI 48909-7973
LANSING MI 48909-0212                   PO BOX 30004
                                        LANSING MI 48909


MICHIGAN DEPT OF TREASURY               MICHIGAN DEPT OF TREASURY                  MICRO PRECISION CALIBRATION INC
TREASURY BUILDING                       UNCLAIMED PROPERTY DIVISION                22835 INDUSTRIAL PL
LANSING MI 48922                        PO BOX 30756                               GRASS VALLEY CA 95949
                                        LANSING MI 48909




MICROBIOLOGICS INC                      MICROBIOLOGY AND QUALITY ASSOCIATES INC    MIDSTATE PRINTING GROUP LLC
200 COOPER AVE NORTH                    JEANNE VAN NOTE                            1 BANK ST STE 401
ST CLOUD NM 56303                       PO BOX 855553                              STAMFORD CT 06901
                                        MINNEAPOLIS MN 55485-5553




MIGA SOLUTIONS                          MILBANK                                    MILLER, HAILEY
3500 HOLLY LN N                         55 HUDSON YARDS                            360 LANGSTON
STE 40                                  NEW YORK NY 10001-2163                     STE 301 TO 305
PLYMOUTH MN 55447                                                                  SAN FRANCISCO CA 94103




MINDBODYGREEN LLC                       MINING AND ECONOMY CONSULTING              MINNERLY, SARAH
45 MAIN ST                              JUZNA TRIEDA 15                            85 HEATHER AVE
STE 422                                 KOSICE 040 01                              APT #8
BROOKLYN NY 11201                       SLOVAKIA                                   SAN FRANCISCO CA 94118




MINNESOTA ATTORNEY GENERAL              MINNESOTA DEPT OF COMMERCE                 MINNESOTA DEPT OF LABOR AND INDUSTRY
KEITH ELLISON                           UNCLAIMED PROPERTY DIVISION                COMMISSIONER
1400 BREMER TOWER                       85 7TH PL EAST                             443 LAFAYETTE RD N
445 MINNESOTA ST                        STE 500                                    ST. PAUL MN 55155
ST. PAUL MN 55101-2131                  ST. PAUL MN 55101




MINNESOTA DEPT OF NATURAL RESOURCES     MINNESOTA DEPT OF REVENUE                  MINNESOTA POLLUTION CONTROL AGENCY
500 LAFAYETTE RD                        600 NORTH ROBERT ST                        520 LAFAYETTE RD
ST. PAUL MN 55155-4040                  ST. PAUL MN 55146                          ST. PAUL MN 55155-4194




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MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO   MISSION LINEN SUPPLY                         MISSISSIPPI ATTORNEY GENERAL
LLP                                         702 E MONTECITO ST                           JIM HOOD
AND POPEO, LLP                              SANTA BARBARA CA 93103                       WALTER SILLERS BUILDING
DAVID SIEGAL                                                                             550 HIGH ST STE 1200
PO BOX 4539                                                                              JACKSON MS 39201
BOSTON MA 02212-4539


MISSISSIPPI DEPT OF ENVIRONMENTAL QUALITY   MISSISSIPPI EMPLOYMENT SECURITY COMMISSION   MISSISSIPPI STATE TREASURER
LEGAL DEPT                                  EXECUTIVE DIRECTOR                           UNCLAIMED PROPERTY DIVISION
PO BOX 2261                                 1235 ECHLON PKWY                             PO BOX 138
JACKSON MS 39225                            PO BOX 1699                                  JACKSON MS 39205
                                            JACKSON MS 39215-1699




MISSISSIPPI TAX COMMISSION                  MISSOURI ATTORNEY GENERAL                    MISSOURI ATTORNEY GENERAL'S OFFICE
PO BOX 22808                                ERIC SCHMITT                                 CONSUMER PROTECTION DIVISION
JACKSON MS 39225-2808                       SUPREME COURT BLDG                           OLD POST OFFICE BUILDING
                                            207 W HIGH ST                                815 OLIVE ST SUITE200
                                            JEFFERSON CITY MO 65101                      ST. LOUIS MO 63101




MISSOURI DEPT OF CONSERVATION               MISSOURI DEPT OF NATURAL RESOURCES           MISSOURI DEPT OF REVENUE
2901 W TRUMAN BLVD                          PO BOX 176                                   HARRY S TRUMAN STATE OFFICE BUILDING
JEFFERSON CITY MO 65109                     1101 RIVERSIDE DR                            301 WEST HIGH ST
                                            JEFFERSON CITY MO 65102                      JEFFERSON CITY MO 65101




MISSOURI LABOR AND INDUSTRIAL               MISSOURI STATE TREASURER                     MITCHELL D KAPOR TRUST DATED 12 3 1999
RELATIONS COMMISSION                        UNCLAIMED PROPERTY DIVISION                  2201 BROADWAY
DIRECTOR                                    PO BOX 1004                                  STE 71
3315 WEST TRUMAN BLVD RM 214                JEFFERSON CITY MO 65102                      OAKLAND CA 94612
PO BOX 504
JEFFERSON CITY MO 65102-0599


MIXPANEL INC                                ML LIFESCIENCES LLC                          MODE ANALYTICS
1 FRONT ST                                  17 HAMMOND STE 408                           208 UTAH ST STE 400
STE 2800                                    IRVINE CA 92618                              SAN FRANCISCO CA 94103
SAN FRANCISCO CA 94111-5385




MOLECULAR BIOPRODUCTS INC                   MOLINA HEALTHCARE OF CALIFORNIA              MOLINA HEALTHCARE OF WISCONSIN
9389 WAPLES ST                              PO BOX 30567                                 PO BOX 88539
SAN DIEGO CA 92121                          LOS ANGELES CA 90030-0567                    MILWAUKEE WI 53288-0539




MONKEYBRAINS                                MONTANA ATTORNEY GENERAL                     MONTANA DEPT OF ENVIRONMENTAL QUALITY
635 POTRERO AVE                             TIM FOX                                      LEE METCALF BUILDING
SAN FRANCISCO CA 94110                      215 N SANDERS THIRD FL                       1520 E SIXTH AVE
                                            JUSTICE BUILDING                             HELENA MT 59620-0901
                                            HELENA MT 59620-1401




MONTANA DEPT OF LABOR AND INDUSTRY          MONTANA DEPT OF REVENUE                      MONTANA DEPT OF REVENUE
COMMISSIONER                                5 SOUTH LAS CHANCE GULCH                     UNCLAIMED PROPERTY DIVISION
PO BOX 1728                                 HELENA MT 59860                              SAM W MITCHELL BLDG
HELENA, MT 59624                                                                         125 N ROBERTS 3RD FL
                                                                                         HELENA MT 59601




MONTANA NATURAL RESOURCES INFORMATION       MONTANA OFFICE OF CONSUMER PROTECTION        MOO INC PRINTING
1515 EAST 6TH AVE                           DEPT OF JUSTICE                              MOO INC
PO BOX 201800                               1219 8TH AVE                                 14 BLACKSTONE VLY PL
HELENA MT 59620-1800                        PO BOX 200151                                LICOLN RI 02865
                                            HELENA MT 59620-0151




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MOORE, WILLIAM                              MOOSE WORKS LLC                            MORALES, EDUARDO
467 CENTRAL PK WEST                         ARON CLAASSEN                              116 ROBLE RD APT 202
APT 15D                                     3425 SE 174TH AVE                          WALNUT CREEK CA 94597
NEW YORK NY 10025                           PORTLAND OR 99236




MORNEAU SHEPELL DBA LIMITED                 MORRISON AND FOERSTER LLP                  MORTON, AMANDA
PO BOX 6737                                 JEFF NGAI                                  360 LANGSTON
CAROL STREAM IL 60197-6737                  425 MARKET ST                              STE 301 TO 305
                                            SAN FRANCISCO CA 94105                     SAN FRANCISCO CA 94103




MOSS ADAMS LLP                              MUI, EDDIE                                 MUI, EDDIE CHUN HIN
LOCKBOX #101822                             360 LANGSTON                               7427 TEHAN CT
2710 MEDIA CTR DR                           STE 301 TO 305                             DUBLIN CA 94568
LOS ANGELES CA 90065                        SAN FRANCISCO CA 94103




MUTESIX INC                                 MVP HEALTH CARE                            MYPHARMACY GMBH
11845 W OLYMPIC BLVD STE 900W               ROBIN LAW                                  FERINGASTR 7
LOS ANGELES CA 90064                        220 ALEXANDER ST                           UNTERFOHRING
                                            ROCHESTER NY 14607                         GERMANY




NAGABAYASHI, GINDY                          NALC                                       NALGE NUNC INTERNATIONAL CORP
245 17TH ST                                 20547 WAVERLY CT                           THERMO FISHER
#211                                        ASHBURN VA 20149                           PO BOX 96296
OAKLAND CA 94612                                                                       CHICAGO IL 60693




NATIONWIDE INSURANCE                        NAVIA BENEFIT SOLUTIONS                    NAVIGANT CYMETRIX
1025 OLD COUNTRY RD STE 310                 PO BOX 35193                               4511 PAYSPHERE CIR
WESTBURY NY 11590                           SEATTLE WA 98124-5193                      CHICAGO IL 60674




NEBRASKA ATTORNEY GENERAL                   NEBRASKA DEPT OF ENVIRONMENTAL QUALITY     NEBRASKA DEPT OF LABOR
DOUG PETERSON                               1200 N ST STE 400                          COMMISSIONER
2115 STATE CAPITOL                          PO BOX 98922                               550 SOUTH 16TH ST
LINCOLN NE 68509-8920                       LINCOLN NE 68509-8922                      ADMINISTRATIVE OFFICE
                                                                                       LINCOLN NE 68509




NEBRASKA DEPT OF REVENUE                    NEBRASKA STATE TREASURER                   NEVADA ATTORNEY GENERAL
301 CENTENNIAL MALL SOUTH                   UNCLAIMED PROPERTY DIVISION                AARON FORD
2ND FLOOR                                   809 P ST                                   OLD SUPREME COURT BLDG
LINCOLN NE 68509-4818                       LINCOLN NE 68508-1390                      100 N CARSON ST
                                                                                       CARSON CITY NV 89701




NEVADA ATTORNEY GENERAL                     NEVADA DEPT OF                             NEVADA DEPT OF TAXATION
BUREAU OF CONSUMER PROTECTION               CONSERVATION AND NATURAL RESOURCES         1550 E COLLEGE PKWY
100 NORTH CARSON ST                         901 S STEWART                              CARSON CITY NV 89706
CARSON CITY NV 89701-4717                   STE 1003
                                            CARSON CITY NV 89701




NEVADA DIVISION OF ENVIRONMENT PROTECTION   NEVADA DIVISION OF FORESTRY                NEVADA OFFICE OF THE LABOR COMMISSIONER
901 S STEWART                               2478 FAIRVIEW DR                           COMMISSIONER
STE 1003                                    CARSON CITY NV 89701                       555 E WASHINGTON AVE STE 4100
CARSON CITY NV 89701-5249                                                              LAS VEGAS NV 89101




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NEVADA STATE TREASURER                     NEVERBOUNCE                                NEW ENGLAND BIOLABS
UNCLAIMED PROPERTY DIVISION                805 BROADWAY ST                            240 COUNTY RD
GRANT SAWYER BLDG                          STE 900                                    IPSWICH MA 01938-2723
555 E WASHINGTON AVE STE 4200              CANCOUVER WA 98660
LAS VEGAS NV 89101




NEW HAMPSHIRE ATTORNEY GENERAL             NEW HAMPSHIRE DEPT OF                      NEW HAMPSHIRE DEPT OF LABOR
GORDON MACDONALD                           ENVIRONMENTAL SVC                          COMMISSIONER
NH DEPARTMENT OF JUSTICE                   29 HAZEN DR                                SPAULDING BUILDING
33 CAPITOL ST                              PO BOX 95                                  95 PLEASANT ST
CONCORD NH 03301-6397                      CONCORD NH 03302-0095                      CONCORD NH 03301




NEW HAMPSHIRE DEPT OF REV ADMIN            NEW HAMPSHIRE TREASURER                    NEW JERSEY ATTORNEY GENERAL
109 PLEASANT ST                            UNCLAIMED PROPERTY DIVISION                GURBIR S GREWAL
CONCORD NH 03301                           25 CAPITOL ST                              RICHARD J HUGHES JUSTICE COMPLEX
                                           ROOM 121                                   25 MARKET ST 8TH FL WEST WING
                                           CONCORD NH 03301                           TRENTON NJ 08625




NEW JERSEY DEPT OF ENVIRONMENTAL           NEW JERSEY DEPT OF LABOR                   NEW JERSEY DIVISION OF TAXATION
PROTECTION                                 COMMISSIONER                               BANKRUPTCY SECTION
MARK N MAURIELLO                           1 JOHN FITCH PLZ                           PO BOX 245
401 E STATE ST                             PO BOX 110                                 TRENTON NJ 08695-0245
7TH FLOOR EAST WING                        TRENTON NJ 08625-0110
TRENTON NJ 08625-0402


NEW JERSEY UNCLAIMED PROPERTY DIVISION     NEW LIFE SCIENTIFIC INC                    NEW MEXICO ATTORNEY GENERAL
PO BOX 214                                 300 DUPLER ST                              HECTOR BALDERAS
TRENTON NJ 08695-0214                      CRIDERSVILLE OH 45806                      408 GLISTEO ST
                                                                                      VILLAGRA BUILDING
                                                                                      SANTA FE NM 87501




NEW MEXICO DEPT OF LABOR                   NEW MEXICO DEPT OF REVENUE                 NEW MEXICO ENVIRONMENT DEPT
SECRETARY                                  UNCLAIMED PROPERTY DIVISION                1190 ST FRANCIS DR STE N4050
401 BROADWAY NE                            P O BOX 8485                               PO BOX 5469
PO BOX 1928                                ALBUQUERQUE NM 87198-8485                  SANTA FE NM 87505
ALBUQUERQUE NM 87102




NEW MEXICO TAX AND REVENUE DEPT            NEW YORK ATTORNEY GENERAL                  NEW YORK CITY DEPT OF FINANCE
LEGAL SERVICES BUREAU                      LETITIA JAMES                              1 CENTRE ST MUNICIPAL BLDG 500
1100 SOUTH ST FRANCIS DR                   DEPT OF LAW                                NEW YORK NY 10007
SANTA FE NM 87504-0630                     THE CAPITOL 2ND FLOOR
                                           ALBANY NY 12224-0341




NEW YORK DEPT OF LABOR                     NEW YORK DEPT OF TAX AND FINANCE           NEW YORK STATE
COMMISSIONER                               BANKRUPTCY SECTION                         CONSUMER PROTECTION BOARD
BUILDING 12 ROOM 500                       PO BOX 5300                                5 EMPIRE STATE PLZ
WA HARRIMAN CAMPUS                         ALBANY NY 12205-0300                       STE 2101
ALBANY NY 12240                                                                       ALBANY NY 12223-1556




NEW YORK STATE COMPTROLLER                 NEW YORK STATE DEPT OF                     NEWVOICEMEDIA
OFFICE OF UNCLAIMED FUNDS                  ENVIRONMENTAL CONSERVATION                 501 2ND ST
110 STATE ST                               625 BROADWAY                               STE 310 & 330
ALBANY NY 12236                            ALBANY NY 12233-0001                       SAN FRANCISCO CA 94107




NGUYEN, BAO CHAU                           NGUYEN, QUAN                               NINHURSAG PROPERTIES
1253 WALLER ST                             2741 SARGENT AVE                           489 5TH AVE 9TH FL
SAN FRANCISCO CA 94117                     SAN PABLO CA 94806                         NEW YORK NY 10017




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NIXON PEABODY                           NIZAMI, SAQIB                               NOPA
EXCHANGE PLACE 53 STATE ST              100 15TH ST                                 560 DIVISADERO
BOSTON MA 02109-2835                    APT 1                                       AT HAYES
                                        BROOKLYN NY 11215                           SAN FRANCISCO CA 94117




NOR CAL MOVING SVC                      NORKETT, JOHN                               NORRIS, KELLY
3129 CORPORATE PL                       124 E MARKET ST                             461 DEAN ST
HAYWARD CA 94545                        APT 421                                     APT 4B
                                        WEST CHESTER PA 19382                       BROOKLYN NY 11217




NORTH CAROLINA ATTORNEY GENERAL         NORTH CAROLINA DEPT OF ENVIRONMENTAL        NORTH CAROLINA DEPT OF LABOR
JOSH STEIN                              AND NATURAL RESOURCES                       COMMISSIONER
DEPT OF JUSTICE                         3800 BARRETT DR                             1101 MAIL SERVICE CTR
PO BOX 629                              RALEIGH NC 27609                            RALEIGH NC 27699-1101
RALEIGH NC 27602-0629




NORTH CAROLINA DEPT OF REVENUE          NORTH CAROLINA DEPT OF REVENUE              NORTH CAROLINA ENVIRONMENT AND
BANKRUPTCY UNIT                         PO BOX 25000                                NATURAL RESOURCES
PO BOX 1168                             RALEIGH NC 27640-0520                       3800 BARRETT DR
RALEIGH NC 27602-1168                                                               RALEIGH NC 27609




NORTH CAROLINA STATE TREASURER          NORTH DAKOTA ATTORNEY GENERAL               NORTH DAKOTA DEPT OF HEALTH
UNCLAIMED PROPERTY DIVISION             WAYNE STENEHJEM                             ENVIRONMENTAL HEALTH
325 N SALISBURY ST                      600 E BLVD AVE                              918 EAST DIVIDE AVE
RALEIGH NC 27603                        DEPT 125                                    BISMARCK ND 58501-1947
                                        BISMARCK ND 58505-0040




NORTH DAKOTA OFFICE OF STATE TAX        NORTH DAKOTA STATE LAND DEPT                NORTH DAKOTA STATE WATER COMMISSION
COMMISSIONER                            UNCLAIMED PROPERTY DIVISION                 900 EAST BLVD AVE
600 EAST BLVD AVE                       1707 NORTH 9TH ST                           BISMARCK ND 58505-0850
DEPT 127                                PO BOX 5523
BISMARCK ND 58505-0599                  BISMARK ND 58506-5523




NORTH DAKOTADEPARTMENT OF LABOR         NORTHERN MARIANA ISLANDS ATTORNEY GENERAL   NOVA BIOSTORAGE PLUS
COMMISSIONER                            EDWARD MANIBUSAN                            1003 ASHWOOD DR
STATE CAPITOL BUILDING                  ADMINISTRATION BLDG                         CANONSBURG PA 15317
600 EAST BLVD DEPT 406                  PO BOX 10007
BISMARK ND 58505                        CAPITOL HILL
                                        SAIPAN MP 96950-8907


NOVOA, ALEJANDRO                        NOVUS BIOLOGICALS LLC                       NVEST INC
1 ST FRANCIS PL                         10730 E BRIARWOOD AVE                       560 DAVIS ST STE 250
APT 2502                                CENTENNIAL CO 80112                         SAN FRANCISCO CA 94111
SAN FRANCISCO CA 94107




NYONOHSEYONYON WREH                     OFFICE OF CONSUMER PROTECTION               OFFICE OF THE ATTORNEY GENERAL
362 MURRAY DR                           DEPT OF CONSUMER AND REGULATORY AFFAIRS     CONSUMER PROTECTION UNIT
HAYWARD CA 94544                        941 NORTH CAPITOL ST NE                     1031 WEST 4TH AVE STE 200
                                        WASHINGTON DC 20002                         ANCHORAGE AK 99504




OFFICE OF THE ATTORNEY GENERAL          OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION            CONSUMER PROTECTION DIVISION                CONSUMER PROTECTION AND ADVOCACY SECTION
501 WASHINGTON AVE                      323 CENTER ST                               2005 N CENTRAL AVE
PO BOX 300152 MONTGOMERY AL 36130       STE 200                                     PHOENIX AZ 65004-1592
MONTGOMERY AL 36104                     LITTLE ROCK AR 72201




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OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL               OFFICE OF THE ATTORNEY GENERAL
CALIFORNIA DEPT OF JUSTICE               CONSUMER PROTECTION DIVISION                 CONSUMER PROTECTION DIVISION
PUBLIC INQUIRY UNIT                      THOMAS STEVENS DIRECTOR                      1305 EAST WALNUST ST 2ND FL
PO BOX 944255                            CARVEL STATE OFFICE BUILDING                 HOOVER BUILDING
SACRAMENTO CA 94244-2550                 820 NORTH FRENCH ST                          DES MOINES IA 50319
                                         WILMINGTON DE 19801


OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL               OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION             CONSUMER PROTECTION DIVISION                 OFFICE OF CONSUMER PROTECTION
302 W WASHINGTON ST                      120 SW 10TH                                  1024 CAPITAL CTR DR
5TH FL                                   2ND FL                                       STE 200
INDIANAPOLIS IN 46204                    TOPEKA KS 66612-1597                         FRANKFORT KY 40601




OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL               OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION SECTION              CONSUMER PROTECTION DIVISION                 CONSUMER PROTECTION DIVISION
PO BOX 94005                             200 SAINT PAUL PL                            6 STATE HOUSE STATION
BATON ROUGE LA 70804-9005                16TH FLOOR                                   AUGUSTA ME 04333
                                         BALTIMORE MD 21202-2021




OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL               OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION             CONSUMER PROTECTION AND ANTITRUST BUREAU     DEPT OF JUSTICE
9001 MAIL SERVICE CTR                    600 E BLVD AVE                               CONSUMER PROTECTION DIVISION
RALEIGH NC 27699-9001                    DPET 125                                     2115 STATE CAPITOL
                                         BISMARK ND 58505                             PO BOX 98920
                                                                                      LINCOLN NE 68509


OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL               OFFICE OF THE ATTORNEY GENERAL
CONSUMER AFFAIRS                         CONSUMER PROTECTION DIVISION                 CONSUMER PROTECTION UNIT
1302 E HWY 14                            812 QUARRIER ST 6TH FL                       123 CAPITOL
STE 356                                  PO BOX 1789                                  200 W 24TH ST
PIERRE SD 57501-8503                     CHARLESTON WV 25326-1789                     CHEYENNE WY 82002




OFFICE OF THE CHIEF FINANCIAL OFFICER    OFFICE OF THE STATE TREASURER SOUTH DAKOTA   OFFICE SUPPLY
UNCLAIMED PROPERTY OFFICE                UNCLAIMED PROPERTY DIVISION                  OFFICE MAX
1350 PENNSYLVANIA AVE NW                 500 E CAPITOL AVE                            263 SHUMAN BLVD
STE 203                                  PIERRE SD 57501-5070                         NAPERVILLE IL 60563
WASHINGTON DC 20004




OFFICEVIBE                               OHIO AIR QUALITY DEVELOPMENT AUTHORITY       OHIO ATTORNEY GENERAL
1751 RUE RICHARDSON                      50 W BROAD ST                                MIKE DEWINE
STE 5400                                 STE 1718                                     STATE OFFICE TOWER
MONTREAL QC H3K1G6                       COLUMBUS OH 43215                            30 E BROAD ST 14TH FL
CANADA                                                                                COLUMBUS OH 43431




OHIO DEPT OF COMMERCE                    OHIO DEPT OF COMMERCE                        OHIO DEPT OF NATURAL RESOURCES
DIRECTOR                                 DIVISION OF UNCLAIMED FUNDS                  2045 MORSE RD
77 SOUTH HIGH ST 23RD FL                 77 SOUTH HIGH ST                             BUILDING D
COLUMBUS OH 43215-6123                   20TH FL                                      COLUMBUS OH 43229-6693
                                         COLUMBUS OH 43215-6108




OHIO DEPT OF TAXATION                    OHIO ENVIRONMENTAL PROTECTION AGENCY         OKLAHOMA ATTORNEY GENERAL
PO BOX 530                               OFFICE OF THE DIRECTOR                       MIKE HUNTER
COLUMBUS OH 43216-0530                   50 WEST TOWN ST STE 700                      313 NE 21ST ST
                                         COLUMBUS OH 43215                            OKLAHOMA CITY OK 73105




OKLAHOMA ATTORNEY GENERAL                OKLAHOMA CONSERVATION COMMISSION             OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY
CONSUMER PROTECTION UNIT                 2800 N LINCOLN BLVD                          707 N ROBINSON
313 NE 21ST ST                           STE 160                                      PO BOX 1677
OKLAHOMA CITY OK 73105                   OKLAHOMA CITY OK 73105                       OKLAHOMA CITY OK 73101-1677




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OKLAHOMA DEPT OF LABOR                  OKLAHOMA STATE TREASURER                  OKLAHOMA TAX COMMISSION
COMMISSIONER                            UNCLAIMED PROPERTY DIVISION               2501 LINCOLN BLVD
3017 N STILES                           2401 NW 23RD ST                           OKLAHOMA CITY OK 73194
STE 100                                 STE 42
OKLAHOMA CITY OK 73105                  OKLAHOMA CITY OK 73107




OLIVER, JENNIFER                        OLIVER, RODNEY                            ON SEARCH PARTNERS LLC
23-11 21ST AVENUE                       16847 LIBERTY ST                          GREG KLEEH
2K                                      SAN LEANDRO CA 94578                      102 FIRST ST STE 201
ASTORIA NY 11105                                                                  HUDSON OH 44236




OPS DIAGNOSTICS LLC                     ORACLE NETSUITE                           ORCK, JASON
291 ROUTE 22 EAST                       ORACLE AMERICA INC                        360 LANGSTON
BUILDING 6                              LEGAL DEPT                                STE 301 TO 305
LEBANON NJ 08833                        500 ORACLE PKWY                           SAN FRANCISCO CA 94103
                                        REDWOOD SHORES CA 94065




OREGON ATTORNEY GENERAL                 OREGON BUREAU OF LABOR AND INDUSTRIES     OREGON DEPT OF ENVIRONMENTAL QUALITY
ELLEN F ROSENBLUM                       COMMISSIONER                              811 SW 6TH AVE
OREGON DEPARTMENT OF JUSTICE            800 NE OREGON ST                          PORTLAND OR 97204-1390
1162 COURT ST NE                        STE 1045
SALEM OR 97301-4096                     PORTLAND, OR 97232




OREGON DEPT OF FISH AND WILDLIFE        OREGON DEPT OF JUSTICE                    OREGON DEPT OF REVENUE
4034 FAIRVIEW INDUSTRIAL DR SE          CONSUMER PROTECTION                       955 CENTER ST NE
SALEM OR 97302                          1162 COURT ST NE                          SALEM OR 97310
                                        SALEM OR 97301-4096




OREGON DEPT OF REVENUE                  OREGON DEPT OF STATE LANDS                ORRICK, HERRINGTON AND SUTCLIFFE LLP
PO BOX 14780                            UNCLAIMED PROPERTY SECTION                JOHN BAUTISTA
SALEM OR 97309                          775 SUNNER ST NE                          450 HOWARD ST
                                        STE 100                                   SAN FRANCISCO CA 94105-2669
                                        SALEM OR 97301-1279




OXFORD HEALTH PLANS INC                 PACIFIC CRATING AND SHIPPING LLC          PALAZZO, LUCIA
CLAIMS REFUND LOCKBOX                   1008 REVERE AVE                           1809 BALSA ST
111 WOOD AVE S                          SAN FRANCISCO CA 94124                    ALAMEDA CA 94501
STE 2
NEWARK NJ 07193-0284




PALMER, CHRISTINA                       PANDEY, UPASANA                           PANORAMA STAFFING LLC
2074 HUDSON ST                          1529 RUSSELL ST                           20 EUGENE DR
DENVER CO 80207                         APT 18                                    MONTVILLE NJ 07045
                                        BERKELEY CA 94703




PARTSSOURCE INC                         PAY PLUS                                  PAYLOCITY
777 LENA DR                             357 TOWNE CTR BLVD                        3850 N WILKE RD
AURORA OH 44202-8025                    STE 301                                   ARLINGTON HEIGHTS IL 60004
                                        RIDGELAND MS 39157




PAYPAL                                  PAYSCALE INC                              PELCO REFRIGERATION SALES AND SVC
2211 NORTH FIRST ST                     75 REMITTANCE DR DEPT 1343                1600 KIRKHAM ST
SAN JOSE CA 95131                       CHICAGO IL 60675-1343                     OAKLAND CA 94607-2215




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PENNSYLVANIA ATTORNEY GENERAL            PENNSYLVANIA ATTORNEY GENERAL               PENNSYLVANIA DEPT OF
JOSH SHAPIRO                             BUREAU OF CONSUMER PROTECTION               ENVIRONMENTAL PROTECTION
1600 STRAWBERRY SQUARE                   16 FLOOR STRAWBERRY SQUARE                  RACHEL CARSON STATE OFFICE BLDG
16TH FL                                  HARRISBURG PA 17120                         400 MARKET ST
HARRISBURG PA 17120                                                                  HARRISBURG PA 17101




PENNSYLVANIA DEPT OF CONSERVATION        PENNSYLVANIA DEPT OF HEALTH                 PENNSYLVANIA DEPT OF LABOR AND INDUSTRY
AND NATURAL RESOURCES                    PO BOX 500 110 PICKERING WAY                SECRETARY
RACHEL CARSON STATE OFFICE BLDG          EXTON PA 19341-1310                         651 BOAS ST
6TH FL                                                                               ROOM 1700
HARRISBURG PA 17105-8522                                                             HARRISBURG PA 17121




PENNSYLVANIA DEPT OF REVENUE             PENNSYLVANIA STATE TREASURY                 PENNY HILL PRS RECOVERY ANALYST
11 STRAWBERRY SQUARE                     OFFICE OF UNCLAIMED PROPERTY                PO BOX 415000
HARRISBURG PA 17128                      PO BOX 1837                                 NASHVILLE TN 37241-0837
                                         HARISBURG PA 17105-1383




PENSIONMARK FINANCIAL GROUP LLC          PG AND E                                    PHAM, ELIZABETH
24 E COTA ST STE 200                     885 EMBARCADERO DR WEST                     730 MARINERS ISLAND BLVD APT 8
SANTA BARBARA CA 93101                   SACRAMENTO CA 95605                         SAN MATEO CA 94404




PHILLIPS, JADE                           PINKUS, EMILY                               PINO, RAUL
1364 UTAH ST                             605 SCOTT ST                                AV LOS LEONS 2270
GROUND FLOOR                             #2                                          DEPTO 260
SAN FRANCISCO CA 94110                   SAN FRANCISCO CA 94117                      PROVIDENCIA
                                                                                     CHILE




PLETHORA CORP                            POKITDOK INC                                POPPIN INC
701 CESAR CHAVEZ ST                      100 CALHOUN ST STE 210                      1115 BROADWAY
SAN FRANCISCO CA 94124                   CHARLESTON SC 29401                         3RD FLOOR
                                                                                     NY NY 10010




POSSE HERRERA AND RUIZ SA                PRECISION HEALTH ECONOMICS                  PRECISION MEASUREMENTS INC
CARRERA 7 NO 7152 TORRE A PISO 5         PO BOX 75727                                1630 ZANKER RD
BOGOTA 112011                            BALTIMORE MD 21275-5727                     SAN JOSE CA 95112
COLOMBIA




PREMERA BCBS                             PREMERA BLUE CROSS                          PREMIER STAFFING INC
MS 229                                   PO BOX 327                                  PO BOX 398237
PO BOX 327                               SEATTLE WA 98111                            SAN FRANCISCO CA 94139-8237
SEATTLE WA 98111




PREVOT AND ASSOCIATES INSURANCE SVC      PRIME ACCESS CAPITAL LLC                    PROFESSIONAL TELECOMMUNICATION SVC
12280 SARATOGA SUNNYVALE RD #216         49 GEARY ST                                 6111 SOUTHFRONT RD STE B
SARATOGA CA 95070                        SUITE 500 CA 94108                          LIVERMORE CA 94551




PROMEGA CORP                             PROPEL NETWORK LLC                          PROSPERWORKS INC
2800 WOODS HOLLOW RD                     14525 SW MILLIKAN WAY #38105                301 HOWARD ST
MADISON WI 53711                         BEAVERTON OR 97005                          STE 600
                                                                                     SAN FRANCISCO CA 94105




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PROVIDENCE HEALTH PLAN                    PROVIDENCE HEALTH PLANS                   PUERTO RICO DEPT OF LABOR
PO BOX 6456                               ELLEN LARSEN                              SECRETARY
PORTLAND OR 97228-6456                    PO BOX 6456                               EDIFICIO PRUDENCIO RIVERA MARTINEZ AVE
                                          PORTLAND OR 97228                         MUÑOS RIVERA 505
                                                                                    PO BOX 195540 HATO REY
                                                                                    SAN JUAN PR 00917


QAMAR, WALEED                             QIAGEN INC                                QUANTIFIED SELF LABS
225 SCHERMERHORN ST                       PO BOX 5132                               QUANTIFIED SELF
APT 5P                                    CAROL STREAM IL 60197-5132                GARY WOLF
BROOKLYN NY 11201                                                                   2 QUAIL AVE
                                                                                    BERKELEY CA 94708




QUIETT, SANDY                             QUINN EMANUEL URQUHART AND SULLIVAN LLP   QUINTANILLA, DAVID
360 LANGSTON                              NICOLE SCOTT                              360 LANGSTON
STE 301 TO 305                            865 S FIGUEROA ST 10TH FL                 STE 301 TO 305
SAN FRANCISCO CA 94103                    LOS ANGELES CA 90017                      SAN FRANCISCO CA 94103




RAINES, ANEESHA                           RAKOW, JOHN                               RAMOS, KARINA
360 LANGTON ST                            1280 ARBOR RD                             1930 NE ALBERTA ST
#301                                      MENLO PARK CA 94025                       APT #209
SAN FRANCISCO CA 94103                                                              PORTLAND OR 97211




RAMPERSAD, KALLANA                        RAMSEY AND EHRLICH LLP                    RAMSEY AND EHRLICH LLP
12606 LIBERTY AVE                         LAUREN NOGA                               LAUREN NOGA
SOUTH RICHMOND HILL NY 11419              800 HEARST AVE                            803 HEARST AVE
                                          ALBANY CA 94710                           ALBANY CA 94710




RAMSEY, SOPHIA                            RAYMOND, KITANYA                          RAYNES, JOSHUA
360 LANGSTON                              3215 AVENUE H                             360 LANGSTON
STE 301 TO 305                            APT12F                                    STE 301 TO 305
SAN FRANCISCO CA 94103                    BROOKLYN NY 11210                         SAN FRANCISCO CA 94103




RD NUTRITION CONSULTANTS LLC              RECOLOGY GOLDEN GATE                      RECOLOGY GOLDEN GATE
NICK HARPER                               250 EXECUTIVE PK BLVD STE 2100            RECOLOGY SUNSET SCAVENGER
505 CORNHUSKER RD                         STE 2100                                  250 EXECUTIVE PK BLVD
STE 105-336                               SAN FRANCISCO CA 94124                    SAN FRANCISCO CA 94124
BELLEVUE NE 68005




RECOVERIES TEAM SELECT HEALTH             REDLEIN, DUSTIN                           REDOX INC
PO BOX 27368                              6112 VERMONT 7A                           2020 EASTWOOD DR
SALT LAKE CITY UT 84127-0368              ARLINGTON VT 05250                        MADISON WI 53704




REDWOOD VALUATION PARTNERS LLC            REGENCE BLUE CROSS BLUE SHIELD            REGENTS OF THE UNIVERSITY OF CALIFORNIA
PO BOX 412                                OF OREGON                                 NATALIE WILLIAMS-MUNGER
PALTO ALTO CA 94302-9806                  CLAIMS REFUND RECOVERY                    600 16TH ST
                                          PO BOX 3016                               STE 412B
                                          TACOMA WA 98401-3016                      SAN FRANCISCO CA 94143-0654




RENAISSANCE MIDTOWN WEST LLC              RESOURCE MANAGEMENT GROUP                 RETURN PATH
PO BOX 303                                201 BROAD ST                              3 PARK AVE 41ST FL
EMERSON NJ 07630                          STAMFORD CT 06901                         NEW YORK NY 10016




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RHODE ISLAND ATTORNEY GENERAL           RHODE ISLAND DEPT OF                         RHODE ISLAND DEPT OF LABOR AND TRAINING
PETER F NERONHA                         ENVIRONMENTAL MANAGEMENT                     DIRECTOR
150 S MAIN ST                           235 PROMENADE ST                             1511 PONTIAC AVE
PROVIDENCE RI 02903                     PROVIDENCE RI 02908-5767                     CRANSTON RI 02920




RHODE ISLAND DIVISION OF TAXATION       RHODE ISLAND TREASURY OFFICE                 RICHMAN, JESSICA
ONE CAPITOL HILL                        UNCLAIMED PROPERTY DIVISION                  45 27TH ST
1ST FLOOR                               STATE HOUSE                                  SAN FRANCISCO CA 94110
PROVIDENCE RI 02908                     ROOM102
                                        PROVIDENCE RI 02903




ROBERT HALF INTERNATIONAL INC           ROCHE                                        ROCHE DIAGNOSTICS
OFFICE TEAM                             GRENZACHERSTRASSE 124                        9115 HAGUE RD
PO BOX 743295                           4070 BASEL                                   INDIANAPOLIS IN 46250
LOS ANGELES CA 90074                    SWITZERLAND




ROCKROSE DEVELOPMENT LLC                RODENSTEIN, ROY                              ROLDA, ANNA
15 E 26TH ST 7TH FLR                    125 COOLIDGE AVE                             965 SUTTER ST
NEW YORK NY 10010                       APT 211                                      UNIT 109
                                        WATERTOWN MA 02472                           SAN FRANCISCO CA 94109




ROMO, JESSE                             ROSARIO, CRISTINA                            ROSE, DEVON
2418 CASA BONA AVE                      1345 HILLSIDE BLVD                           525 VANDERBILT AVE
BELMONT CA 94002                        SOUTH SAN FRANCISCO CA 94080                 APT 4A
                                                                                     BROOKLYN NY 11238




ROY WOLD                                RUBLEV, ALEX                                 RUBY RECEPTIONISTS INC
5730 CORTE LIBRE                        5681 COLD WATER DR                           805 SW BROADWAY STE 900
PLEASANTON CA 94566                     CASTRO VALLEY CA 94552                       PORTLAND OR 97205




RUFFINS, SHANTE                         RUSH SPENCER WELLS                           RUSSELL HINTON CO
419A WASHINGTON AVE                     101 COLORADO ST                              1823 EGBERT AVE
CLIFFSIDE PARK NJ 07010                 #3107                                        SAN FRANCISCO CA 94108
                                        AUSTIN TX 78701




RYE, CAILEE                             S-E INC                                      S-E INC
360 LANGSTON                            TODD CLEVETTE                                ATTN: VICE PRESIDENT OF OPERATIONS
STE 301 TO 305                          M/S 65-3-920                                 M/S 65-3-920
SAN FRANCISCO CA 94103                  4111 NE 112TH AVE                            4111 NE 112TH AVE
                                        VANCOUVER WA 98682                           VANCOUVER WA 98682




SADLER, JENNIFER                        SAICHEK, NATHAN                              SALEM, DEEB
3180 RUBINO DR                          523 STAMBAUGH ST                             143 READE ST 9A
#119                                    APT C                                        NEW YORK NY 10013
SAN JOSE CA 95125                       REDWOOD CITY CA 94063




SALESFORCECOM INC                       SAMBA FEDERAL EMPLOYEE BENEFIT ASSOCIATION   SAN FRANCISCO PUBLIC UTILITIES
JASON FOSTER                            11301 OLD GEORGETOWN RD                      525-501 GOLDEN GATE AVE
PO BOX 203141                           ROCKVILLE MD 20852-2800                      SAN FRANCISCO CA 94102
DALLAS TX 75320-3141




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SAN FRANCISCO TAX COLLECTOR                 SANTA CRUZ BIOTECHNOLOGY                  SANTORA APT AND BLDG SUPPLIES
PAYROLL TAX DEPARTMENT                      10410 FINNELL ST                          825 VALENCIA ST
SAN FRANCISCO CA 94120-7427                 DALLAS TX 75220                           SAN FRANCISCO CA 94110




SCHACHTER, JOSHUA                           SCHNEIDER, KYLE                           SCHOX INVESTMENTS LLC
60 E PORTOLA AVE                            201 MARIN BLVD                            500 3RD ST
LOS ALTOS CA 94022                          PH8                                       STE 215
                                            JERSEY CITY NJ 07302                      SUITE 215 CA 94107




SCHOX PLC                                   SCOTT LEGAL PC                            SCRIPPS TRANSLATIONAL SCIENCE INSTITUTE
500 3RD ST STE 515                          2 PARK AVE FL 20                          CORRINE YARBROUGH
SAN FRANCISCO CA 94107                      NEW YORK NY 10016                         3344 N TORREY PINES CT
                                                                                      STE 300
                                                                                      LA JOLLA CA 92037




SE INC ELEKTRICITY                          SE, INC                                   SEGAR AND CO LLC
TODD CLEVETTE                               TODD CLEVETTE                             207 VERSAILLES DR
3 GREENWAY PLZ STE 1150                     4111 NE 112TH AVE                         CARY NC 27511
HOUSTON TX 77046                            VANCOUVER WA 98682




SEGMENTIO                                   SELECTACCOUNT                             SELVADURAI, NAVEEN
100 CALIFORNIA ST                           PO BOX 64193                              217 CENTRE ST
STE 700                                     ST PAUL MN 55164-0193                     #127
SAN FRANCISCO CA 94111                                                                NEW YORK NY 10013




SEMMAR, BEN                                 SENDBRIDGE INC                            SEQMATIC LLC
35-24 32ND STREET                           1895 JACKSON ST                           44846 OSGOOD RD
2ND FLOOR                                   APT 503                                   FREMONT CA 94539
ASTORIA NY 11106                            SAN FRANCISCO CA 94109




SERACARE LIFE SCIENCES                      SEXTON GROUP REAL ESTATE                  SF NOTARY AND APOSTILLE
PO BOX 417605                               1647 HOPKINS ST                           315 MONTGOMERY ST
BOSTON MA 02241-7605                        BERKELEY CA 94707                         FLOOR 10
                                                                                      SAN FRANCISCO CA 94104




SHAPEWAYS INC                               SHARE LOCAL MEDIA                         SHEH, JULIE
419 PARK AVE SOUTH                          10 SAINT PAULS PL E                       800 SEA SPRAY LN #116
STE 900                                     BROOKLYN NY 11226                         FOSTER CITY CA 94404
NEW YORK NY 10016




SHENZHEN MINGWEL ELECTRONICS CO LTD         SHIPSTATION                               SHUSAKU YAMAMOTO CO
CENTURY BUILDING 3018 SHENNAN CENTER ROAD   3800 N LAMAR BLVD #220                    PO BOX 310011267
FUTUA DISTRICT SHENZHEN ROOM 1414           AUSTIN TX 78756                           PASADENA CA 91110-1267
SHENZHEN 518028
CHINA




SIDLEY AUSTIN LLP                           SIGMAALDRICH INC                          SILICON VALLEY BANK
PO BOX 0642                                 3050 SPRUCE ST                            3003 TASMAN DR
CHICAGO IL 60690                            SAINT LOUIS MO 63103                      HF150
                                                                                      SANTA CLARA CA 95054




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SILICON VALLEY BANK                 SILVA, SOPHIA                                SINGH-RAMBIRITCH, SIMITHA
505 HOWARD ST                       401 SHERWOOD DR                              118 ROBLE RD
3RD FL                              GILROY CA 95020                              APT 104
SAN FRANCISCO CA 94105                                                           WALNUT CREEK CA 94597




SKEDDLYCOM                          SLACK TECHNOLOGIES INC                       SLOW VENTURES IV LP
47 WESTWYND CT                      PO BOX 207795                                775 E BLITHEDALE AVE STE
TORONTO ON M9R 2M1                  DALLAS TX 75320-7795                         STE 515
CANADA                                                                           MILL VALLEY CA 94941




SMARTSHEET INC                      SMITH, ALEXANDRA                             SMITH, ALISON
DEPT 3421                           1215 PORTLAND AVE                            776 BUSH ST
PO BOX 123421                       LOS ALTOS CA 94024                           APT 303
DALLAS TX 75312-3421                                                             SAN FRANCISCO CA 94108




SMITH, JEAN                         SNOW BITTLESTON HARTMAN FONG AND             SOMMER, JENNIFER
1225 VIENNA DR                      ASSOCIATES INC                               218 ORDWAY ST
SPC 935                             1213 LINCOLN AVE 209                         SAN FRANCISCO CA 94134
SUNNYVALE CA 94089                  SAN JOSE CA 95125




SONIC                               SOS DISTRICT OF COLUMBIA                     SOS OF ALABAMA
2260 APOLLO WAY                     KIMBERLY A BASSETT                           JOHN H MERRILL
SANTA ROSA CA 95407                 1350 PENNSYLVANIA AVE NW                     PO BOX 5616
                                    ROOM 419                                     MONTGOMERY AL 36103-5616
                                    WASHINGTON DC 20004




SOS OF ALASKA                       SOS OF ARIZONA                               SOS OF ARKANSAS
333 W WILLOUGHBY AVE                KATIE HOBBS                                  JOHN THURSTON
9TH FL                              OFFICE OF THE SECRETARY OF STATE             STATE CAPITOL
JUNEAU AK 99801                     1700 W WASHINGTON ST                         500 WOODLANE AVE
                                    F17                                          STE 256
                                    PHOENIX AZ 85007-2888                        LITTLE ROCK AR 72201


SOS OF CALIFORNIA                   SOS OF COLORADO                              SOS OF CONNECTICUT
ALEX PADILLA                        JENA GRISWOLD                                DENISE W MERRILL
1500 11TH ST                        COLORADO DEPT OF STATE                       30 TRINITY ST
SACRAMENTO CA 95814                 1700 BROADWAY                                HARTFORD CT 06106
                                    STE 200
                                    DENVER CO 80290


SOS OF DELAWARE                     SOS OF FLORIDA                               SOS OF GEORGIA
JEFFREY W BULLOCK                   LAUREL M LEE                                 BRAD RAFFENSPERGER
401 FEDERAL ST                      RA GRAY BUILDING                             214 STATE CAPITOL
STE 3                               500 SOUTH BRONOUGH ST                        ATLANTA GA 30334
DOVER DE 19901                      TALLAHASSEE FL 32399-0250




SOS OF HAWAII                       SOS OF IDAHO                                 SOS OF ILLINOIS
SHAN S TSUTSUI                      LAWERENCE DENNEY                             JESSE WHITE
LEUTENANT GOVERNOR                  700 WEST JEFFERSON ST RM E205                213 STATE CAPITOL
STATE CAPITOL                       PO BOX 83720                                 SPRINGFIELD IL 62756
ROOM 415                            BOISE ID 83720-0080
HONOLULU HI 96813


SOS OF INDIANA                      SOS OF IOWA                                  SOS OF KANSAS
CONNIE LAWSON                       PAUL D PATE                                  SCOTT SCHWAB
200 W WASHINGTON ST                 FIRST FLOOR LUCAS BUILDING                   MEMORIAL HALL 1ST FLOOR
ROOM 201                            321 E 12TH ST                                120 SW 10TH AVE
INDIANAPOLIS IN 46204               DES MOINES IA 50319                          TOPEKA KS 66612-1594




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SOS OF KENTUCKY                            SOS OF LOUISIANA                            SOS OF MAINE
ALISON LUNDERGAN GRIMES                    R KYLE ARDOIN                               MATTHEW DUNLAP
OFFICE OF THE KENTUCY SECRETARY OF STATE   8585 ARCHIVES AVE                           148 STATE HOUSE STATION
700 CAPITAL AVE STE 152                    PO BOX 94125 BATON ROUGE LA 708049125       AUGUSTA ME 00433-0148
FRANKFORT KY 40601                         BATON ROUGE LA 70809




SOS OF MARYLAND                            SOS OF MASSACHUSETTS                        SOS OF MICHIGAN
JOHN C WOBENSMITH                          WILLIAM FRANCIS GALVIN                      JOCELYN BENSON
FRED L WINELAND BUILDING                   ONE ASHBURTON PL                            MICHIGAN DEPARTMENT OF STATE
16 FRANCIS ST                              ROOM 1611                                   LANSING MI 48919
ANNAPOLIS MD 21401                         BOSTON MA 02108-1512




SOS OF MINNESOTA                           SOS OF MISSISSIPPI                          SOS OF MISSOURI
STEVE SIMON                                DELBERT HORSEMANN                           JOHN R ASHCROFT
OFFICE OF THE SECRETARY OF STATE           401 MISSISSIPPI ST                          600 WEST MAIN ST
RETIREMENT SYSTEMS OF MINNESOTA BLDG       JACKSON MS 39201                            JEFFERSON CITY MO 65101
60 EMPIRE DR STE 100
ST. PAUL MN 55103


SOS OF MONTANA                             SOS OF NEBRASKA                             SOS OF NEVADA
COREY STAPLETON                            ROBERT BEVNEN                               BARBARA K CEGAVSKE
STATE CAPITOL BUILDING 1301 E 6TH AVE      PO BOX 94608                                NEVADA STATE CAPITOL BLDG
PO BOX 202801 HELENA MT 59620              LINCOLN NE 68509-4608                       101 N CARSON ST STE 3
HELENA MT 59601                                                                        CARSON CITY NV 89701




SOS OF NEW HAMPSHIRE                       SOS OF NEW JERSEY                           SOS OF NEW MEXICO
WILLIAM M GARDNER                          TAHESHA WAY ESQ                             MAGGIE TOULOUSE OLIVER
107 N MAIN ST RM 204                       225 W STATE ST                              NEW MEXICO STATE CAPITOL ANNEX NORTH
STATE HOUSE                                PO BOX 001                                  325 DON GASPAR STE 300
CONCORD NH 03301                           TRENTON NJ 08625-0300                       SANTA FE NM 87501




SOS OF NEW YORK                            SOS OF NORTH CAROLINA                       SOS OF NORTH DAKOTA
ROSSANA ROSADO                             ELAINE F MARSHALL                           ALVIN A AL JAEGER
ONE COMMERCE PLZ                           2 SOUTH SALISBURY ST                        600 E BLVD AVE
99 WASHINGTON AVE                          PO BOX 29622                                DEPT 108 1ST FL
ALBANY NY 12231-0001                       RALEIGH NC 27626-0622                       BISMARCK ND 58505-0500




SOS OF OHIO                                SOS OF OKLAHOMA                             SOS OF OREGON
FRANK LAROSE                               MICHAEL ROGERS                              BEV CLARNO
180 EAST BROAD ST                          2300 N LINCOLN BLVD                         900 COURT ST NE
16TH FLOOR                                 STE 101                                     CAPTIAL RM 136
COLUMBUS OH 43215                          OKLAHOMA CITY OK 73105-4897                 SALEM OR 97310-0722




SOS OF PENNSYLVANIA                        SOS OF RHODE ISLAND                         SOS OF SOUTH CAROLINA
ROBERT TORRES                              NELLIE M GORBEA                             MARK HAMMOND
302 NORTH OFFICE BLDG                      82 SMITH ST                                 EDGAR BROWN BLDG
HARRISBURG PA 17120                        STATE HOUSE ROOM 217                        1205 PENDELTON ST STE 525
                                           PROVIDENCE RI 02903                         COLUMBIA SC 29201




SOS OF SOUTH DAKOTA                        SOS OF TENNESSEE                            SOS OF TEXAS
SHANTEL KREBS                              TRE HARGETT                                 DAVID WHITLEY
CAPITOL BUILDING                           312 ROSA L PARKS AVE                        JAMES E RUDDER BUUILDING
500 E CAPITOL AVE STE 204                  8TH FLOOR SNODGRASS TOWER                   1019 BRAZOS
PIERRE SD 57501-5070                       NASHVILLE TN 37243-1102                     AUSTIN TX 78701




SOS OF UTAH                                SOS OF VERMONT                              SOS OF VIRGINIA
160 E 300 S                                JIM CONDOS                                  KELLY THOMASSON
2ND FL                                     26 TERREACE ST                              PO BOX 1475
SALT LAKE CITY UT 84111                    MONTPELIER VT 05609-1101                    RICHMOND VA 23218




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SOS OF WASHINGTON                        SOS OF WEST VIRGINIA                      SOS OF WISCONSIN
KIM WYMAN                                MAC WARNER                                DOUG LAFOLLETTE
LEGISLATEIVE BUILDING                    BLDG 1 STE 157K                           PO BOX 7848
PO BOX 40220                             1900 KANAWHA BLVD EAST                    MADISON WI 53707-7848
OLYMPIA WA 98504-0220                    CHARLESTON WV 25305-0770




SOS OF WYOMING                           SOUTH CAROLINA ATTORNEY GENERAL           SOUTH CAROLINA DEPT OF CONSUMER AFFAIRS
EDWARD A BUCHANAN                        ALAN WILSON                               3600 FOREST DR STE 300
SECRETARY OF STATE'S OFFICE              REMBERT C DENNIS OFFICE BLDG              PO BOX 5757
2020 CAREY AVE                           1000 ASSEMBLY ST RM 519                   COLUMBIA SC 29250-5757
STE 600                                  COLUMBIA SC 29211-1549
CHEYENNE WY 82002-0020


SOUTH CAROLINA DEPT OF HEALTH            SOUTH CAROLINA DEPT OF LABOR              SOUTH CAROLINA DEPT OF NATURAL RESOURCES
AND ENVIRONMENTAL CONTROL                LICENSING AND REGULATIONS                 RAMBERT C DENNIS BUILDING
2600 BULL ST                             DIRECTOR                                  1000 ASSEMBLY ST
COLUMBIA SC 29201                        SYNERGY BUSINESS PARK KINGSTREE BLDG      COLUMBIA SC 29201
                                         110 CENTERVIEW DR
                                         COLUMBIA SC 29210


SOUTH CAROLINA DEPT OF REVENUE           SOUTH CAROLINA STATE TREASURER            SOUTH COUNTRY HEALTH ALLIANCE
301 GERVAIS ST                           UNCLAIMED PROPERTY DIVISION               2300 PK DR
PO BOX 125                               PO BOX 11778                              OWATONNA MN 55060
COLUMBIA SC 29201                        COLUMBIA SC 29211




SOUTH DAKOTA ATTORNEY GENERAL            SOUTH DAKOTA DEPT OF ENVIRONMENT          SOUTH DAKOTA DEPT OF LABOR
JASON RAVNSBORG                          AND NATURAL RESOURCES                     SECRETARY
1302 EAST HIGHWAY 14                     JOE FOSS BLDG PMB 2020                    700 GOVERNORS DR
STE 1                                    523 E CAPITAL                             PIERRE SD 57501
PIERRE SD 57501-8501                     PIERRE SD 57501




SOUTH DAKOTA DEPT OF REVENUE AND         SPECTOR, DAVID                            SPRAGUE, RICHARD
REGULATION                               873 DE HARO ST                            PO BOX 1523
445 E CAPITOL AVE                        SAN FRANCISCO CA 94107                    APT 101
PIERRE SD 57501                                                                    OAKLAND WA 98040




SQUAREWHEEL GROUP LLC                    SSC VENTURE FUND LLC                      STAFF CARE INC
1 BANK ST STE 406                        6 CLUB RD                                 12400 HIGH BLUFF DR
STAMFORD CT 06901                        RYE NY 10580                              SAN DIEGO CA 92130




STAMPS.COM                               STANDFORD UNIVERSITY-GENETICS             STANFORD UNIV GIFTS
PO BOX 202921                            M327A ALWAY BUILDING                      3145 PORTER DR
DALLAS TX 75320-2921                     STANDFORD CA 94305-5120                   PALO ALTO CA 94304




STANFORD UNIVERSITY                      STANFORDSTARTX FUND LLC                   STAR ELEVATOR INC
3145 PORTER DR                           635 KNIGHT WAY                            1300 INDUSTRIAL RD STE 4
PALO ALTO CA 94304                       STANFORD CA 94305                         SAN CARLOS CA 94070




STARSTONE SPECIALTY INSURANCE CO         STARSTONE SPECIALTY INSURANCE CO          STAT MED URGENT CARE
AON RISK INSURANCE SVC WEST INC          ALEX TOKAR                                ROB O REILLY
SAN FRANCISCO CA OFFICE                  425 MARKET ST                             901 SUNVALLEY BLVD STE 100
425 MARKET ST                            STE 2800                                  CONCORD CA 94520
STE 2800                                 SAN FRANCISCO CA 94105
SAN FRANCISCO CA 94105




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STATE OF CALIFORNIA                        STATE OF CALIFORNIA                       STATE OF CALIFORNIA FRANCHISE TAX BOARD
DEPT OF INDUSTRIAL RELATIONS               DEPT OF INDUSTRIAL RELATIONS              PO BOX 942857
DIVISION OF WORKERS COMPENSATION           LABOR COMMISSIONER'S OFFICE               SACRAMENTO CA 94257-0511
455 GOLDEN GATE AVE 2ND FL                 455 GOLDEN GATE AVE
SAN FRANCISCO CA 94102-7014                10TH FLOOR
                                           SAN FRANCISCO CA 94102


STATE OF CONNECTICUT DEPT OF REVENUE SVC   STATE OF DELAWARE DIVISION OF REVENUE     STATE OF FLORIDA ATTORNEY GENERAL
25 SIGOURNEY ST                            CARVEL STATE OFFICE BUILDING              CONSUMER PROTECTION DIVISION
STE 2                                      820 N FRENCH ST                           THE CAPITOL PL-01
HARTFORD CT 06106                          WILMINGTON DE 19801                       TALLAHASSEE FL 32399-1040




STATE OF FLORIDA DEPT OF REVENUE           STATE OF GEORGIA GOVERNOR'S OFFICE        STATE OF HAWAII
5050 WEST TENNESSEE ST                     CONSUMER PROTECTION DIVISION              UNCLAIMED PROPERTY DIVISION
TALLAHASSE FL 32399-0100                   2 MARTIN LUTHER KING DR                   PO BOX 150
                                           STE 356                                   HONOLULU HI 96810
                                           ATLANTA GA 30334-9077




STATE OF HAWAII CONSUMER PROTECTION        STATE OF HAWAII DEPT OF TAXATION          STATE OF MAINE
LEIOPAPA A KAMEHAMEHA BUILDING             PO BOX 259                                OFFICE OF THE STATE TREASURER
235 SOUTH BERETANIA ST STE 801             HONOLULU HI 96809                         UNCLAIMED PROPERTY
HONOLULU HI 96816                                                                    39 STATE HOUSE STATION
                                                                                     AUGUSTA ME 04333-0039




STATE OF MICHIGAN ATTORNEY GENERAL         STEELE, TIMOTHY                           STORSS, MONICA
CONSUMER PROTECTION DIVISION               3101 SPRINGER RD                          22 ELM ST
PO BOX 30213                               PLACERVILLE CA 95667                      BELMONT MA 02478
LANSING MI 48909-7713




SUAZIO LLC                                 SUNSERI, WHITNEY                          SUNSET SCAVENGER CO
PO BOX 15226                               3415 BRODERICK ST                         250 EXECUTIVE PK BLVD # 2100
PHILADELPHIA PA 19125                      APT 3                                     SAN FRANCISCO CA 94134-3306
                                           SAN FRANCISCO CA 94123




SURVEYMONKEY INC                           SUSAN M BATES 2001 REVOCABLE TRUST        SY, TIMOTHY
BANK OF AMERICA LOCKBOX SVC                NICHOLAS BATES                            6189 YEADON WAY
32330 COLLECTIONS CTR DR                   PO BOX 242                                SAN JOSE CA 95119
CHICAGO IL 60693-2326                      DUXBURY MA 02331




TAKARA BIO USA INC                         TAYLOR, JULIE                             TAYLOR, ROBERTO
1290 TERRA BELLA AVE                       1378 MCALLISTER ST                        360 LANGSTON
MOUNTAIN VIEW CA 94043-1837                #4                                        STE 301 TO 305
                                           SAN FRANCISCO CA 94115                    SAN FRANCISCO CA 94103




TECAN US INC                               TECHNICAL SAFETY SVC LLC                  TEKNOVA
PO BOX 602740                              DEPT 33265                                2290 BERT DR
CHARLOTTE NC 28260-2740                    PO BOX 39000                              HOLLISTER CA 95023
                                           SAN FRANCISCO CA 94139-3265




TENNESSEE ATTORNEY GENERAL                 TENNESSEE ATTORNEY GENERAL                TENNESSEE DEPT OF ENVIRONMENT
HERBERT H SLATERY III                      CONSUMER PROTECTION                       AND CONSERVATION
PO BOX 20207                               500 JAMES ROBERTSON PKWY                  BOB MARTINEAU
NASHVILLE TN 37202-0207                    5TH FL                                    312 ROSA L PARKS AVE
                                           NASHVILLE TN 37243-0600                   NASHVILLE TN 37243




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TENNESSEE DEPT OF LABOR                 TENNESSEE DEPT OF REVENUE                   TENNESSEE DEPT OF TREASURY
COMMISSIONER                            ANDREW JACKSON BUILDING                     UNCLAIMED PROPERTY DIVISION
220 FRENCH LANDING DR                   500 DEADRICK ST                             502 DEADERICK ST
NASHVILLE TN 37243                      NASHVILLE TN 37242                          NASHVILLE TN 37243-0203




TEXAS ATTORNEY GENERAL                  TEXAS ATTORNEY GENERAL                      TEXAS COMMISSION OF ENVIRONMENTAL QUALITY
KEN PAXTON                              CONSUMER PROTECTION                         PO BOX 13087
300 W 15TH ST                           300 W 15TH ST                               MAIL CODE TCEQ
AUSTIN TX 78701                         9TH FL                                      AUSTIN TX 78711-3087
                                        AUSTIN TX 78711-2548




TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS        TEXAS NOVACHEM CORP
PO BOX 13528 CAPITOL STATION            UNCLAIMED PROPERTY CLAIMS SECTION           BILLY SELF
AUSTIN TX 78711-3528                    PO BOX 12046                                1830 EAST INTERSTATE 30
                                        AUSTIN TX 78711-2046                        ROCKWALL TX 75087




TEXAS WORKFORCE COMMISSION              TFL SILICON VALLEY                          TFS THERMO FISHER SCIENTIFIC
EXECUTIVE DIRECTOR                      830 STEWART DR STE 208                      300 INDUSTRY DR
101 EAST 15TH ST                        SAN JOSE CA 94085                           PITTSBURGH PA 15275
ROOM 651
AUSTIN TX 78778-0001




THE ACTIVE WORKPLACE                    THE ASCENT SVC GROUP                        THE FLYING LOCKSMITHS PORTLAND WEST
73 LIBERTY ST                           1001 GALAXY WAY STE 405                     14050 SW PACIFIC HWY STE# 102
ACTON MA 07120                          CONCORD CA 94520                            TIGARD OR 97224




THE HANOVER INSURANCE GROUP             THE HARTFORD                                THE HEALTHY MAVEN
PO BOX 580045                           PO BOX 783690                               573 28TH AVE
440 LINCOLN ST                          PHILADELPHIA PA 19178-3690                  APARTMENT 3
CHARLOTTE NC 28258-0045                                                             SAN FRANCISCO CA 94121




THE MARC R BENIOFF REVOCABLE TRUST      THE MCDERMOTT BUILDING                      THE NARRATIVE GROUP INC
U A D 12 3 2004                         500 NORTH CAPITOL ST                        19 WEST 21ST ST STE 601
PO BOX 649                              WASHINGTON DC 20001-1531                    NEW YORK NY 10010
ORINDA CA 94563




THE PRIVATEER CO                        THE RECEIVABLE MANAGEMENT SVC LLC           THE STANDARD
27 VIA PALACIO                          PO BOX 361598                               STANDARD INSURANCE CO
SAN CLEMENTE CA 92673                   COLUMBUS OH 43236                           1100 SW SIXTH AVE
                                                                                    PORTLAND OR 97204




THE WRIGHT LAW FIRM                     THOMAS SCIENTIFIC LLC                       THOMPSON, STEPHANIE
22144 CLARENDON ST                      1654 HIGH HILL RD                           230 11TH ST
STE 302A                                SWEDESBORO NJ 08085-1780                    APT 11
WOODLAND HILLS CA 91367                                                             SAN FRANCISCO CA 94103




TORCH LEADERSHIP LABS INC               TOVAR, ELENA                                TRAN, SARAH
1890 BRYANT ST                          410 9TH AVE                                 3266 ROCKPORT AVE
STE 202                                 MENLO PARK CA 94025                         SAN JOSE CA 95132
SAN FRANCISCO CA 94110




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TRAVELERS EXCESS AND SURPLUS               TRAVELERS EXCESS AND SURPLUS                TRI SOURCE INTERNATIONAL
AON RISK INSURANCE SVC WEST INC            ALEX TOKAR                                  25000 AVENUE STANFORD STE 248
SAN FRANCISCO CA OFFICE                    425 MARKET ST                               VALENCIA CA 91355
425 MARKET ST                              STE 2800
STE 2800                                   SAN FRANCISCO CA 94105
SAN FRANCISCO CA 94105


TRICARE                                    TRICARE EAST                                TRICARE EAST REGION REFUNDS RECOUPS
7700 ARLINGTON BLVD                        PO BOX 870140                               PO BOX 8967
STE 5101                                   SURFSIDE BEACH SC 29587                     MADISON WI 53708-8967
FALLS CHURCH VA 22042




TRICARE FINANCE                            TRICARE SOUTH                               TRICARE WEST
PO BOX 202111                              PO BOX 7032                                 PO BOX 202111
FLORENCE SC 29502-2111                     CAMDEN SC 29021                             FLORENCE SC 92502




TRICARE WEST REGION                        TRICARE WEST REGION PGBA LLC                TRILINK BIOTECHNOLOGIES LLC
PO BOX 100268                              PO BOX 202100                               9955 MESA RIM RD
COLUMBIA SC 29202                          FLORENCE SC 29502-2100                      SAN DIEGO CA 92121




TRISTA DANIELL BUSINESS SUPPORT AND MGMT   TRUE SEARCH                                 TRUEVAULT INC
191 HILL TER DR                            TRUE CAPITAL PARTNERS                       228 HAMILTON AVE
APT 36                                     66 TANNER ST                                STE 300
NEDERLAND TX 77627                         HADDONFIELD NJ 08033                        PALO ALTO CA 94301




TRUPP HR INC                               TUNNACLIFFE, NIGEL                          TWIN CITY FIRE INSURANCE CO
160 NE 6TH AVE STE 300                     371 RIDGE WAY                               AON RISK INSURANCE SVC WEST INC
PORTLAND OR 97232                          CARMEL VALLEY CA 93924                      SAN FRANCISCO CA OFFICE
                                                                                       425 MARKET ST
                                                                                       STE 2800
                                                                                       SAN FRANCISCO CA 94105


TWIN CITY FIRE INSURANCE CO                TYRRELL, SAMANTHA                           U-HAUL
ALEX TOKAR                                 66 PEARL ST                                 44511 GRIMMER BLVD
425 MARKET ST                              APT 607                                     FREMONT CA 94538
STE 2800                                   NEW YORK NY 10004
SAN FRANCISCO CA 94105




UBIOME ARGENTINA                           UBIOME CHILE SPA                            UCSF LOGISTICS DISTRIBUTION AND STORAGE
CALLE 57 385                               AVENIDA SANTA MARIA 2810                    OYSTER POINT
LA PLATA                                   PROVIDENCIA                                 612 FORBES BLVD
ARGENTINA                                  SANTIAGO                                    SOUTH SAN FRANCISCO CA 94080
                                           CHILE




UGALDE, JUAN                               ULINE INC                                   UMR
AVENIDA SUCRE 1700                         PO BOX 88741                                PO BOX 8033
DEPT 1105                                  CHICAGO IL 60680-1741                       WAUSAU WI 54402-8033
SANTIAGO
CHILE




UNDER ARMOUR CONNECTED FITNESS             UNGER, KONSTANTIN VON                       UNIFIRST CORP
UA CONNECTED FITNESS                       QUARTON INTERNATIONAL                       14266 CATALINA ST
211 WALTER SEAHOLM DR                      JOACHIMSTHALER STRASSE 34                   SAN LEANDRO CA 94577
AUSTIN TX 78701                            BERLIN 10719
                                           GERMANY




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UNITED AIRLINES                          UNITED HEALTH CARE                         UNITED HEALTH CARE SVC INC DULUTH SVC
UNITED                                   RICHARD O'CONNOR                           CENTER
233 SOUTH WACKER DR                      UNITED PAYMENT INTEGRITY                   PO BOX 740800
CHICAGO IL 60606                         RECOVERY INVESTIGATIONS                    ATLANTA GA 30374-0800
                                         4868 GEORGIA HWY 85 STE 206A
                                         FOREST PARK GA 30297


UNITED HEALTH GROUP RECOVERY SVC         UNITED HEALTHCARE                          UNITED HEALTHCARE
LOCKBOX 101760                           JOHNSON AND ROUNTREE PREMIUM               RICHARDSON/S PRGFLD SRVC CNTR
HAPEVILLE GA 30354-1705                  PO BOX 301599                              PO BOX 30555
                                         DALLAS TX 75303-1599                       SALT LAKE CITY UT 84130-0555




UNITED HEALTHCARE                        UNITED HEALTHCARE                          UNITED HEALTHCARE RECOVERY
RECOVERY SVC                             SALK LAKE CITY                             UNITED HEALTHCARE RECOVERY SVC
PO BOX 945931                            PO BOX 30783                               LEGAL DEPT
ATLANTA GA 30394-5931                    SALT LAKE CITY UT 84130-0783               5901 LINCOLN DR
                                                                                    MINNEAPOLIS MN 55436




UNITED HEALTHCARE ATLANTA                UNITED HEALTHCARE GA                       UNITED HEALTHCARE KINGSTON
PO BOX 101760                            UNITED HEALTH GROUP RECOVERY SVC           PO BOX 1600
ATLANTA GA 30392-1760                    LOCKBOX 101760                             KINGSTON NY 12402-1600
                                         HAPEVILLE GA 30354




UNITED HEALTHCARE RECOVERY SVC           UNITED HEALTHCARE SVC INC                  UNITED HEALTHCARE SVC INC
PO BOX 740804                            BUFFALO SVC CENTER                         RCHARDSON'S PRGFLD SRVC CNTR
ATLANTA GA 30374-0804                    PO BOX 740800                              PO BOX 740800
                                         ATLANTA GA 30374-0800                      ATLANTA GA 30374-0800




UNITED HEALTHCARE TX                     UPCOUNSEL                                  UPS FREIGHT
HRA REFUND                               580 MARKET ST STE 500                      P O BOX 650690
UNITED HEALTHCARE                        SAN FRANCISCO CA 94104                     DALLAS TX 75265-0690
4050 RIO BRAVO ST
EL PASO TX 79902




URBAN MOM SPOT                           US ATTORNEYS OFFICE                        US ATTORNEYS OFFICE
8841 N CONGRESS AVE APT 616              NORTHERN DISTRICT OF CALIFORNIA            DISTRICT OF DELAWARE
KANSAS CITY MO 64153                     DAVID L ANDERSON                           DAVID C WEISS
                                         450 GOLDEN GATE AVE                        1313 N MARKET ST
                                         11TH FL                                    STE 400
                                         SAN FRANCISCO CA 94102                     WILMINGTON DE 19801


US DEPT OF LABOR                         US DEPT OF LABOR OSHA                      US DEPT OF LABOR OSHA
200 CONSTITUTION AVE NW                  OSHA REGION 1                              OSHA REGION 2
WASHINGTON DC 20210                      JFK FEDERAL BUILDING                       FEDERAL BUILDING
                                         25 NEW SUDBURY ST RM E340                  201 VARICK ST RM 670
                                         BOSTON MA 02203                            NEW YORK NY 10014




US DEPT OF LABOR OSHA                    US DEPT OF LABOR OSHA                      US DEPT OF LABOR OSHA
OSHA REGION 3                            OSHA REGION 4                              OSHA REGION 5
THE CURTIS CENTER STE 740 WEST           61 FORSYTH ST SW                           JOHN C KLUCZYNSKI FEDERAL BUILDING
170 S INDEPENDENCE MALL WEST             RM 6T50                                    230 SOUTH DEARBORN ST RM 3244
PHILADELPHIA PA 19106                    ATLANTA GA 30303                           CHICAGO IL 60604




US DEPT OF LABOR OSHA                    US DEPT OF LABOR OSHA                      US DEPT OF LABOR OSHA
OSHA REGION 6                            OSHA REGION 7                              OSHA REGION 8
525 GRIFFIN ST STE 602                   TWO PERSHING SQUARE BUILDING               CESAR CHAVEZ MEMORIAL BUILDING
DALLAS TX 75202                          2300 MAIN ST STE 1010                      1244 SPEER BLVD STE 551
                                         KANSAS CITY MO 64108                       DENVER CO 80204




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US DEPT OF LABOR OSHA                     US DEPT OF LABOR OSHA                     US EQUAL EMPLOYMENT OPPORTUNITY
OSHA REGION 9                             OSHA REGION 10                            COMMISSION
SAN FRANCISCO FEDERAL BUILDING            300 FIFTH AVE                             OFFICE OF CHIEF COUNSEL
90 7TH ST STE 18100                       STE 1280                                  131 M ST NE
SAN FRANCISCO CA 94103                    SEATTLE WA 98104-2397                     WASHINGTON DC 20507




UTAH ATTORNEY GENERAL                     UTAH DEPT OF ENVIRONMENTAL QUALITY        UTAH LABOR COMMISSION
SEAN D REYES                              PO BOX 144810                             COMMISSIONER
UTAH STATE CAPITOL COMPLEX                SALT LAKE CITY UT 84114-4810              160 E 300 S
350 NORTH STATE ST STE 230                                                          STE 300
SALT LAKE CITY UT 84114-2320                                                        SALT LAKE CITY UT 84114




UTAH STATE TAX COMMISSION                 UTAH TREASURER'S OFFICE                   VACCINATION SVC OF AMERICA INC
210 NORTH 1950 WEST                       UNCLAIMED PROPERTY DIVISION               9320 H CT
SALT LAKE CITY UT 84134                   168 N 1950 W                              OMAHA NE 68127
                                          STE 102
                                          SALT LAKE CITY UT 84116




VAKHNINA AND PARTNERS                     VALDIVIESO, KATHERINE                     VANYA VOIVEDICH
BLD6 PREOBRAZHENSKAYA PL                  1227 UNIVERSITY AVE #A                    2451 MIDTOWN AV APT 1225
MOSCOW 107061                             BERKELEY CA 94702                         ALEXANDRIA VA 22303
RUSSIA




VASSALLO FAMILY TRUST 2002                VELDANDI , KRISHNAVENI                    VERMONT AGENCY OF NATURAL RESOURCES
225 WILLOWBROOK DR                        FLAT 401 SHREE ENCLAVE RAMCHANDRA NAGAR   EXECUTIVE OFFICE OF GOVERNOR
PORTOLA VALLEY CA 94028                   KT ROAD TIRUMALA BYPASS ROAD              PETER SHUMLIN
                                          TIRUPATI 517501                           109 STATE ST
                                          INDIA                                     MONTPELIER VT 05609




VERMONT ATTORNEY GENERAL                  VERMONT DEPT OF ENVIRONMENTAL             VERMONT DEPT OF LABOR AND INDUSTRY
TJ DONOVAN                                CONSERVATION                              COMMISSIONER
PAVILLION OFFICE BLDG                     COMMISIONER'S OFFICE                      NATIONAL LIFE BUILDING DRAWER 20
109 STATE ST                              ALYSSA B SCHUREN                          MONTPELIER, VT 05620
MONTPELIER VT 05609-1001                  1 NATIONAL LIFE DR
                                          DAVIS 2
                                          MONTPELIER VT 05620-3520

VERMONT DEPT OF TAXES                     VERMONT OFFICE OF THE STATE TREASURER     VIDHANI ASSOCIATES
109 STATE ST PAVILION OFFICE BLDG         UNCLAIMED PROPERTY DIVISION               11/12 UPPER GROUND FLOOR
MONTPELIER VT 05609-0201                  109 STATE ST                              WEST PATEL NAGAR 110008
                                          FL 4                                      INDIA
                                          MONTPELLIER VT 05609-6200




VIRGIN ISLANDS ATTORNEY GENERAL           VIRGINIA ATTORNEY GENERAL                 VIRGINIA DEPT OF AGRICULTURE
DENISE N GEORGE                           MARK R HERRING                            AND CONSUMER SVC
34-38 KRONPRINDSENS GADE                  202 NORTH NINTH ST                        DIVISION OF CONSUMER PROTECTION
GERS BUILDING 2ND FL                      RICHMOND VA 23219                         102 GOVERNOR ST
ST. THOMAS VI 00802                                                                 RICHMOND VA 23219




VIRGINIA DEPT OF ENVIRONMENTAL QUALITY    VIRGINIA DEPT OF LABOR AND INDUSTRY       VIRGINIA DEPT OF TAXATION
629 EAST MAIN ST                          COMMISSIONER                              OFFICE OF CUSTOMER SERVICE
PO BOX 1105                               13 SOUTH THIRTEENTH ST                    PO BOX 1115
RICHMOND VA 23218                         RICHMOND VA 23219                         RICHMOND VA 23218-1115




VIRGINIA DEPT OF TREASURY                 VMS A BIOMARKETING                        VOLUNTEERS OF AMERICA
UNCLAIMED PROPERTY DIVISION               501 PENNSYLVANIA PKWY                     135 W 50 TH ST 9 TH FL
101 NORTH 14TH ST                         STE 100                                   NEW YORK NY 10020
RICHMOND VA 23219                         INDIANAPOLIS IN 46280




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VON SEIDELS INTELLECTUAL PROPERTY       VOROBYOVA, OLGA                           VWR INTERNATIONAL LLC
ATTORNEYS                               2780 23RD ST                              PO BOX 640169
4 EAST PK CENTRAL PK ON PK LN           SAN FRANCISCO CA 94110                    PITTSBURGH PA 15264-0169
CENTURY CITY (CAPE TOWN) 7441
SOUTH AFRICA




WA DEPT OF LABOR AND INDUSTRIES         WALTON , NATHANIEL                        WARD, MARKISHA
PO BOX 34974                            135 EASTERN PKWY #3D                      3560 MARINER RD
SEATTLE WA 98124-1974                   BROOKLYN NY 11238                         OAKLEY CA 94561




WARDLE, SAVANNAH                        WASHINGTON ATTORNEY GENERAL               WASHINGTON DEPT OF LABOR AND INDUSTRIES
1489 WEBSTER ST                         BOB FERGUSON                              DIRECTOR
APT 1204                                1125 WASHINGTON ST SE                     PO BOX 44000
SAN FRANCISCO CA 94115                  PO BOX 40100                              OLYMPIA WA 98504-4000
                                        OLYMPIA WA 98504-0100




WASHINGTON DEPT OF REVENUE              WASHINGTON STATE DEPT OF HEALTH           WASHINGTON STATE ATTORNEY GENERAL
UNCLAIMED PROPERTY SECTION              REVENUE SECTION                           CONSUMER PROTECTION DIVISION
PO BOX 34053                            PO BOX 1099                               1125 WASHINGTON ST SE
SEATTLE WA 98124-1053                   OLYMPIA WA 98507-1099                     OLYMPIA WA 98501-0100




WASHINGTON STATE DEPT OF ECOLOGY        WASHINGTON STATE DEPT OF NATURAL          WASHINGTON STATE DEPT OF REVENUE
PO BOX 47600                            RESOURCES                                 PO BOX 47464
OLYMPIA WA 98504-7600                   PO BOX 47000                              OLYMPIA WA 98504-7476
                                        1111 WASHINGTON ST SE
                                        OLYMPIA WA 98504-7000




WASHINGTON STATE DEPT OF REVENUE        WASHINGTON STATE DEPT OF TRANSPORTATION   WATERFRONT INTELLIGENCE INC
EXECUTIVE OFFICE                        TRANSPORTATION BUILDING                   800 JONES ST
PO BOX 47450                            310 MAPLE PK AVE SE                       BERKELEY CA 94710
OLYMPIA WA 98504                        PO BOX 47300
                                        OLYMPIA WA 98504-7300




WATSON , OLIVER                         WAYSTAR REVENUE CYCLE TECHNOLOGY          WEBER, MAXIMILLIAN
342 SANCHEZ ST                          888 W MARKET ST STE 400                   360 LANGSTON
SAN FRANCISCO CA 94114                  LOUISVILLE KY 40202                       STE 301 TO 305
                                                                                  SAN FRANCISCO CA 94103




WEFUNDS ORANGE FUND LLC                 WEISMAN, ERIC                             WELLMED
1 BROADWAY                              7 MARTIN CT                               PO BOX 846032
14TH FLOOR                              MARTINSVILLE NJ 08836                     DALLAS TX 75284-6032
CAMBRIDGE MA 02142




WESCO INSURANCE CO                      WESCO INSURANCE CO                        WEST VIRGINIA ATTORNEY GENERAL
AON RISK INSURANCE SVC WEST INC         ALEX TOKAR                                PATRICK MORRISEY
SAN FRANCISCO CA OFFICE                 425 MARKET ST                             STATE CAPITOL COMPLEX
425 MARKET ST                           STE 2800                                  BLDG 1 ROOM E26
STE 2800                                SAN FRANCISCO CA 94105                    CHARLESTON WV 25305-0220
SAN FRANCISCO CA 94105


WEST VIRGINIA DEPT OF                   WEST VIRGINIA DEPT OF REVENUE             WEST VIRGINIA DIVISION OF LABOR
ENVIRONMENTAL PROTECTION                1206 QUARRIER ST                          COMMISSIONER
601 57TH ST                             CHARLESTON WV 23501                       BUREAU OF COMMERCESTATE CAPITOL COMPLEX
CHARLESTON WV 25304                                                               BUILDING 6 RM B749
                                                                                  CHARLESTON WV 25305




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WEST VIRGINIA STATE TREASURER'S OFFICE   WILLIAMSON, MARK                            WISCONSIN ATTORNEY GENERAL
UNCLAIMED PROPERTY DIVISION              1746 SELIG LN                               BRAD SCHIMEL
ONE PLAYERS CLUB DR                      LOS ALTOS CA 94024                          114 EAST STATE CAPITOL
CHARLESTON WV 25311                                                                  MADISON WI 53707-7857




WISCONSIN DEPT OF REVENUE                WISCONSIN DEPT OF WORKFORCE DEVELOPMENT     WISCONSIN STATE TREASURER
2135 RIMROCK RD                          SECRETARY                                   UNCLAIMED PROPERTY UNIT
MADISON WI 53713                         PO BOX 7946                                 PO BOX 2114
                                         MADISON WI 53707-7946                       MADISON WI 53701-2114




WISCONSON DEPT OF NATURAL RESOURCES      WISCONSON DNR ENVIRONMENTAL PROTECTION      WOLF, PATRICIA VERA
101 S WEBSTER ST                         101 S WEBSTER ST                            SAN FRANCISCO 242
PO BOX 7921                              PO BOX 7921                                 DEPTO B412
MADISON WI 53707-7921                    MADISON WI 53707-7921                       SANTIAGO
                                                                                     CHILE




WOMENS HORMONE                           WONG, JOANNE                                WOOTRIC LLC
71 HUMPHREY RD                           340 HEATHCLIFF DR                           220 27TH ST
SANTA BARBARA CA 93108                   PACIFICA CA 94044                           SAN FRANCISCO CA 94131




WORLD COURIER INC                        WORLD TRADE MARK                            WU, SHU SHU
NICOLE BLUE                              1629 K ST NW STE 300                        151 BERGEN ST
PO BOX 842325                            WASHINGTON DC 20006-1631                    GARDEN APT
BOSTON MA 02284                                                                      NEW YORK NY 11217




WYOMING ATTORNEY GENERAL                 WYOMING DEPT OF EMPLOYMENT                  WYOMING DEPT OF ENVIRONMENTAL QUALITY
BRIDGET HILL                             DIRECTOR                                    DEQ HEADQUARTERS
200 W 24TH ST                            1510 EAST PERSHING BLVD                     200 WEST 17TH ST
STATE CAPITOL BUILDING ROOM 123          CHEYENNE WY 82002                           CHEYENNE WY 82002
CHEYENNE WY 82002




WYOMING TREASURER'S OFFICE               XIE, CAROLYN                                XING EVENTS GMBH
UNCLAIMED PROPERTY DIVISION              42 FAIRLAWN AVE                             SANDSTR 33
2515 WARREN AVE                          DALY CITY CA 94015                          MUNICH 80335
STE 502                                                                              GERMANY
CHEYENNE WY 82002




Y COMBINATOR S2014 LLC                   YCVC FUND I LP                              YOUROCK INC
320 PIONEER WAY                          320 PIONEER WAY                             6169 KESTREL LN
MOUNTAIN VIEW CA 94041                   MOUNTAIN VIEW CA 94041                      AVILA BEACH CA 93424




YRC FREIGHT                              YU, ALISON                                  ZEIDAN, LAUREN
PO BOX 100129                            3146 DIVISADERO ST                          155 THARP DR
PASADENA CA 91189-0003                   APT 204                                     MORAGA CA 94556
                                         SAN FRANCISCO CA 94123




ZEIGER, DAN                              ZEPTOMETRIX CORP                            ZEROCATER
360 LANGSTON                             878 MAIN ST                                 115 STILLMAN ST
STE 301 TO 305                           BUFFALO NY 14202                            SAN FRANCISCO CA 94107
SAN FRANCISCO CA 94103




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ZHEN PARTNERS FUND IV LP              ZIRMED INC                               ZNEIMER, SUSAN
PO BOX 10008                          1311 SOLUTIONS CTR                       1843 NW LACAMAS DR
WILLOW HOUSE CRICKET SQUARE           CHICAGO IL 60677-1311                    CAMAS WA 98607
GRAND CAYMAN KY1 1001
CAYMAN ISLANDS




ZOOM VIDEO COMMUNICATIONS INC         ZYMO RESEARCH CORP
PO BOX 398843                         17062 MURPHY AVE
55 ALMADEN BLVD STE 600               IRVINE CA 92614
SAN FRANCISCO CA 94139-8843




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